Case 25-03365 Document 2 Filed in TXSB on 06/06/25 Page 1 of 67

. Ited Stat
UNITED STATES BANKRUPTCY COURT somes Sites Courts
SOUTHERN DISTRICT OF TEXAS FILED
HOUSTON DIVISION JUN 06 2025
in re: Nathan Ochsner, Clerk of Court
Charles Mosely § CASE NO. 25-31187
DEBTOR, §
§
Charles Mosely §
PLAINTIFF, 5 CHAPTER 13
§
§ a
SELENE FINANCE LP §
DEFENDANT, § Adv. Proc. No. 2~S~ > 365

DEBTOR’S FIRST AMENDED ADVERSARY COMPLAINT FOR

RESPA AND DTPA VIOLATIONS

COMES NOW, Plaintiff/Debtor, Charles Mosely, who respectfully files Complaint For
Respa and DTPA Violations, Accounting, And Injunctive Relief for wherein

Plaintiff/Debtor respectfully represents, alleges, and states as follows:

i. JURISDICTION AND VENUE

This Adversary Proceeding is one arising under the Plaintiffs Bankruptcy Case No. 25- 31187

under Chapter 13 of Title 11,

This Court has jurisdiction pursuant to 28 US.C. §§ 157 and 1334. This adversary proceeding is a

core proceeding under 28 U S.C. § 157(b}(2).

Venue is proper under 28 U.S.C. § 1409(a), as this proceeding arises in and relates to a case

under Title 11 pending in this district.
Case 25-03365 Document2 Filed in TXSB on 06/06/25 Page 2 of 67

This action involves claims arising under the Real Estate Settlement Procedures Act "RESPA"), 12
_~U.S.C. § 2601 et seq., and the Texas Deceptive Trade Practices Act ("DTPA"}, Tex. Bus. & Com.
Code § 17.41 et seg.

Il. PARTIES

Plaintiff/ Debtor, Charles Mosely, reside in Houston, Harris, Texas,

Defendant, Selene Finance LP (hereafter referred to as "Servicer") is a foreign entity doing
business in Houston, Harris County, Texas. Selene Finance LP is Texas corporation duly
authorized to do business in Texas, 3501 Olympus Blvd. 5th Fl, Ste. 500, Dallas, Texas 75019.

Defendant may be served by serving its registered agent CORPORATION SERVICE COMPANY,

1201 Hays Street, Tallahassee, FL 32301,

Il, FACTUAL ALLEGATIONS

Plaintiff is the owner of real property located at 3005 Nita, Houston Texas 77051 and is the

obligor on a mortgage loan serviced or held by Defendant

On or about October 22, 2021, Plaintiff submitted a Qualified Written Request ("QWR") to

Defendant pursuant to 12 U.S.C, § 2605(e), seeking clarification of account errors, fees, and

misapplied payments.
A true and correct copy of this QWR is attached hereto as Exhibit A.
Defendant failed to acknowledge or adequately respond within the statutory time limits.

On or about September 29,2022, Plaintiff submitted a second QWR, attached as Exhibit B, again
requesting corrections to servicing errors, including unexplained late fees and misapplied

payments,
Case 25-03365 Document2 Filed in TXSB on 06/06/25 Page 3 of 67

Defendant again falled to comply. Additional QWRs were sent on April 13,2023 and February

15,2024, attached respectively as Exhibit C and Exhibit D*

Defendant failed to acknowledge the QWR within five business days and did not provide a

meaningful response within thirty business days, in violation of RESPA.

Defendant's failure to respond caused confusion, legal expenses, and other actual damages,

including potential wrongful default status, inaccurate credit reporting, and emotional distress.

Additionally, Defendant provided false, misleading, or incomplete statements regarding the loan

balance, escrow account, late fees, and default status.

Defendant misapplied payments, charged unsubstantiated fees, and failed to provide accurate

periodic accountings despite repeated requests.
Plaintiff relied on these false representations and suffered actual harm as a result.

IV. CLAIM ONE: VIOLATION OF RESPA (12 US.C § 2605)
Plaintiff incorporates all preceding paragraphs as if fully set forth herein.

Defendant failed to comply with 12 U.S.C. § 2605(e)(1)(A) and (e)(2) by:

a. Failing to acknowledge receipt of the QWR within five business days;

b. Failing to respond with substantive information within thirty business days;
c. Failing to correct errors or explain their position.

d. Engaging in practices that resulted in actual damages to Plaintiff.

As a result. Plaintiff is entitled to actual damages, statutory damages up to $2,000, and

attorneys’ fees under 12 U.S.C. § 2605(f).

V. CLAIM TWO: VIOLATION OF TEXAS DTPA
Plaintiff incorporates al! preceding paragraphs as if fully set forth herein.

3
Case 25-03365 Document 2 Filed in TXSB on 06/06/25 Page 4 of 67

Plaintiff is a "consumer" under the Texas DTPA, as Plaintiff sought and acquired mortgage

servicing for personal, family, or household purposes.

Defendant engaged in false, misleading, and deceptive acts and practices in violation of Tex.

Bus. & Com. Code § 17.46(b), Including:

a. Misrepresenting the loan balance, payment due, and default status;

b. Misapplying payments and charging unauthorized fees;
c. Failing to provide accurate escrow and payment history information;
d. Representing services had characteristics or benefits which they did not have.

Plaintiff relied on these representations to their detriment and suffered financiat and emotional

harm.

Defendant's conduct was knowing and intentional, entitling Plaintiff to treble damages under

Tex. Bus. & Com, Code § 17.50(b)(1).

VI. LEGAL CLAIMS

Defendant's conduct violates 12 U.S.C. § 2605(e) by failing to timely and adequately respond to
Plaintiff’s Qualified Written Requests (QWRs), This is a violation of the Real Estate Settlement
Procedures Act (RESPA), which provides that servicers must acknowledge a QWR within 5
business days and respond substantively within 30 business days. See Catalan v. GWAC Mortg.
Corp., 629 E3d 676 (7th Cir 2011): Renfroe v. Nationstar Mortg, LLC, 822 F3d 1241 (21th Cir.

2016); In re Holland, 374 B.R. 409 (Bankr. D. Mass. 2007).

Defendant’s actions also violate the Texas Deceptive Trade Practices Act (DTPA). Mortgage
servicers qualify as service providers under Texas law when they engage in misrepresentations

or deceptive servicing practices. Plaintiff alleges that Defendant engaged in false, misleading,

4
Case 25-03365 Document2 Filed in TXSB on 06/06/25 Page 5 of 67

and deceptive acts or practices by misapplying payments, failing to credit accounts accurately,
and providing false information aboutithe loan status. See La Sara Grain Co. v. First National
Bank of Mercedes, 673 SW.2d 558 (Tex. 1984); Cameron v, Terrell & Garrett, Inc., 618 S.\W.2d
535 (Tex. 1981); Head v. US. Bank National Ass'n, Na. H-134317,2014 WL 4165377 (S.D. Tex,

Aug, 19,2014).

Vil. AMENDED RESPA COMPLAINT

Debtor/Plalntiff previously submitted complaint under the Real Estate Settlement Procedures
Act (RESPA), in accordance with 12 U.S.C. § 2601 et seq., and its implementing regulation,
Regulation X (12 CFR Part 1024). Debtor/Plaintiff submit this amendment to address serious
concerns regarding escrow mismanagement, improper force-placement of insurance, and

unauthorized interference with my contractual right to directly manage my property insurance

and tax payments.

Vill. FACTUAL BACKGROUND

|, Charles Mosely, am the borrower ofthe mortgage secured by the Deed of Trust recorded for
the property located at 3005 Nita Street, Houston, TX 77051. Under Section 3 of the Deed of
Trust, the lender had the option to waive the requirement for an escrow account, allowing me

to directly pay property taxes and insurance premiums. | maintained valid homeowners

insurance through Aventus Insurance Company without interruption.

IX. INSURANCE POLICY HISTORY

The following insurance policies were active and in force without lapse during the relevant

period:

~ Aventus Insurance Company Policy #WRA 000048057-5: 10/03/2019 to 10/03/2025 (in force,

5
Case 25-03365 Document2 Filed in TXSB on 06/06/25 Page 6 of 67

no claims). See Exhibit E

- Aventus Insurance Company Policy #WRA 000048057-4; 10/03/2019 to 10/03/2024 (in force,
no claims). See Exhibit F

- Southern Vanguard Insurance Policy #TXHPt 5001760-02: 05/29/2019 to 05/29/2020
(rescission of nonrenewal). See Exhibit G

- Texas FAIR Plan Policies: Continuous coverage from 2012-2015 with one hail claim in 2013
($3,349.39). See Exhibit H

~ DEED OF TRUST: See Exhibit |

X. ALLEGED RESPA VIOLATIONS

1. Violation of 12 CFR § 1024.37 — The servicer failed to cancel force-placed insurance within 15

days after | provided sufficient evidence of coverage,
2. Violation of 12 CFR § 1024.17 — Mismanagement of escrow funds, including false claims of

shortage, unlawful increases in monthly payments, and the force-placement of unnecessary and

more expensive insurance.
3. Breach of contract — The Deed of Trust allows me to pay insurance directly when escrow is

waived, Servicer interference in this regard was unauthorized and unjustified.
Xl, SUPPORTING CASE LAW AND REGULATORY AUTHORITY

1, 12 CFR § 1024.17 — Escrow account handling and disclosure.

2.12 CFR § 1024.37 — Regulation of force-placed insurance and evidence of borrower coverage.

3. Lipscomb v. Deutsche Bank Nat'l Tr. Co., No. 1:17-CV-02569 (N.D. Ill. Mar. 7, 2019).
Case 25-03365 Document2 Filed in TXSB on 06/06/25 Page 7 of 67

4. Beadle v. Haughey, 2004 WL 1941349 (D.N.H. Aug. 30, 2004),

5S. 12 U.S.C. § 2605(f) ~ Statutory damages and enforcement provisions under RESPA.

Xl, PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court enter judgment against Defendant

and award;

As to the RESPA claim:

13.
14.

15.

Actual damages pursuant to 12 U.S.C. § 2605(£}(1};

Statutory damages up to $2,000 per incident, for pattern and practice violations;
Reasonable attorneys' fees and costs; As to the DTPA claim:

Actual damages under Tex. Bus. & Com. Code § 17.50(b);

Treble damages for knowing or intentional conduct;

Attorneys’ fees under § 17.50(d); 7P injunctive and/or equitable relief as necessary to
correct Defendants practices; And:

Pre- and post-judgment interest; and
All other relief, legal or equitable, to which Plaintiff may be entitled.
Immediate cancellation of any force-placed insurance policies.

Reimbursement of any premiums or charges applied for unnecessary insurance.

Correction of escrow calculations and restoration of borrower’s rights to pay

directly.

, Statutory damages under RESPA,

Declaratory judgment affirming my right to manage taxes and insurance without
servicer interference.

Grant such other and further relief, at law or in equity, to which Plaintiff shows

himself justly entitled.
Case 25-03365 Document2 Filed in TXSB on 06/06/25 Page 8 of 67

Respectfully submitted,

/s/Charles Mosely

Charles Mosely,
3005 Nita Street
832-244-0055

iN PRO PER/Debtor

CERTIFICATE OF SERVICE

CORPORATION SERVICE COMPANY
1201 Hays Street
Tallahassee, FL. 32304

/s/Charles Mosely
Charles Mosely
3005 Nita Street
832-244-0055

IN PRO PER/Debtor

DECLARATION

I, Charles Mosely, declare under penalty of perjury under the laws of the United States of
America that the facts stated in the foregoing Amended RESPA Complaint and all attached

Exhibits are true and correct to the best of my knowledge.

Executed on June 3, 2025

Charles Mosely
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION
In re:
Case 25-03365 Document2 Filed in TXSB on 06/06/25 Page 9 of 67

DEBTOR, §
§
Charles Mosely §
PLAINTIFF, § CHAPTER 13
§
§
SELENE FINANCE LP §
DEFENDANT, § Adv. Proc. No.

DEBTOR'S FIRST AMENDED ADVERSARY COMPLAINT FOR

le a ag eH Ne

RESPA_AND DTPA VIOLATIONS

ORDER
Upon review of the Amended Complaint filed by Debtor Charles Mosely asserting violations of
the Real Estate Settlement Procedures Act by the mortgage servicer, and after due
consideration of the pleadings and evidence submitted, it is hereby ORDERED that:
The mortgage servicer shall immediately cancel any force-placed insurance on the subject
property.
The mortgage servicer shall refund all premiums and charges related to said insurance.
The escrow account shall be reviewed and recalculated in compliance with 12 CFR § 1024.17.

The servicer shall accept borrower-provided insurance unless properly disapproved as outlined

in the Deed of Trust.
The Court retains jurisdiction to enforce this Order.
Plaintiff is awarded actual damages in the amount of $

Plaintiff is awarded statutory damages pursuant to 12 U.S.C. § 2605(f) in the amount of

$e

Plaintiff is awarded treble damages under the DTPA in the amount of $
Case 25-03365 Document2 Filed in TXSB on 06/06/25 Page 10 of 67

Plaintiff is entitled to recover reasonable attorney's fees and costs, which shall be determined

upon separate motion.

All other relief not expressly granted is denied.

SIGNED this___ day of

, 20.

UNITED STATES BANKRUPTCY JUDGE

EXHIBITS:

Exhibit A - R.E.S.P.A. QUALIFIED WRITTEN REQUEST - October 22,2021
Exhibit B - R.E.S.P.A. QUALIFIED WRITTEN REQUEST - September 29, 2022
Exhibit C - R.E.S.R.A. QUALIFIED WRITTEN REQUEST — April 13, 2023
Exhibit D - R.E.S.P.A. QUALIFIED WRITTEN REQUEST — February 15, 2024
Exhibit E~ Aventus Insurance Letter (Policy #WRA 000048057-5)

Exhibit F — Aventus Insurance Letter (Policy #WRA 000048057-4)

Exhibit G — Southern Vanguard Recission Letter (Policy #TXHPI 5001760-02)

Exhibit H — Texas FAIR Plan Letters (2012-2015 Coverage)
Exhibit | - DEED OF TRUST

10
03; ocument 2__Filed in. TXSB on 06/06/25 Page 11 of 67
“Case 25:31 187 ‘Document 38° Kiled in X88 on 05/15/25. Page 9 of 20

EXHIBIT A
se 25-03365 BRocument 2_ Filed in TXSB on 06/06/25 Page 12 of 67

ase 29-31187 Document 38° Filed in TXSB off 05/15/25 Page 10 of 30
Case 4:24-cv-02236 Document 1-5 Filed on 06/12/24 in TXSD Page 33 of 54

Charles Mosely
3005 Nita

Houston, Texas 7705)

" October 22, 2021

CMR:70200640000060931486
SELENE FINANCE

9990 Richmond, Suite 400 South
Houston, Texas 77042-4546

Account Number # 2004963935

R.E.S.P.A, QUALIFIED WRITTEN REQUEST
Dear Sir or Madam:

Please treat this letter as a “qualified written request” under the Federal Servicer Act, which is a
part of the Real Estate Settlement Procedures Act, 12 U.S.C. 2605(e).

Specifically, Lam disputing the amount that you claim is owed according to the Monthly Billing
Statement and.request that you send me information about the fees, costs, and escrow accounting
on our loan. a) the identity of a true secured lender/creditor, and b) the existence of debt, and ¢)
your authority and capacity to collect on behalf of the alleged lender/creditor. Because of
extensive criminal activity and fraud in this atena, I require proof of the chain of secured

. ownership from the original alleged lender/creditor to the alleged current

* lender/creditor. Further, I require proof that you are the entity that has been contracted to work
on behalf ofthe alleged lender/creditor,

Pursuant to “Subtitle E Mortgage Servicing” of the Dodd-Frank Wall Street Reform and

Consumer Protection Act and pursuant to 12 U.S.C. Section 2605(e)(1)(A) and Reg. X Section
3500.21(e)(1), please provide:

I. A full, double-sided, certified “true and accurate” copy of the Original promissory note
and security instrument and all. assignments of the security instrument,

2. Full name, address and, telephone numberof the actual entity that funded the transaction,

3. Full name of Trust where the Note Number is trading or has traded, and the identifying
Series of Certificates,
(Note: If the note number is being traded in a Fannie Mae Trust or Freddie Mac Trust,
- please provide all information to identify the Trust (i.e. Fannie Mae Pool Number, CUSIP
Number, REMIC or SMBS Trust Number and Trust Class/Tranche).
4. Full name, address, and telephone number of the Trustee.

¢
.
Case 25-03365 Document 2_ Filed in TXSB on 06/06/25 Page 13 of 67

Vase 25-31187" Document 38° Filed ii TXSB on 05/15/25 Page II of 30
Case 4:24-cv-02236 Document i-5 Filed on 06/12/24 in TXSD Page 34 of 54

5. Full name, address, and telephone number of the Custodian of my original Promissory
Note, including the name, address and, telephone number of any trustee or other
fiduciary. This request is being made pursuant to Section 1641(£(2) of the Truth In
Lending Act,

6. Full name, address, and telephone number of the Custodian of my original Security
Instrument, including the name, address and, telephone number of any trustee or other

fiduciary. This request is being made pursuant to Section 1641 (f)(2) of the Truth In
Lending Act.

7. A physical location (address) of the original promissory note, original security
instrument, and all assignments of the security instrument, and a contact name and
phone number of someone who can arrange for inspection of said documents.

8. Ifit is alleged that the original promissory note was lost, how was it lost?
9. When was the original promissory note last seen?

10. Full name, address, and telephone number of the last person who saw the original
promissory note.

11. In whose possession was the original promissory note when it was allegedly lost?

12. Full name, address and, telephone number of any person who has direct personal

information on the location of the original promissory note and the timing and method of
loss,

13. Full name, address and, telephone number of any master servicers, servicers, sub-
servicers, contingency servicers, back-up servicers or, special servicers for this account.

14, All data, information, notations, text, figures and, information contained in your
mortgage servicing and accounting computer systems including, but not limited to
Alltel’s CPI system, any system by Alltell or any other similar mortgage servicing
software used by you, any Servicers, or sub-servicer of my mortgage account from the
inception of my loan to the date written above,

15. All descriptions and legends of all Codes used in your mortgage servicing and accounting
system So that the examiners, auditors and, experts retained to audit and review my
mortgage account may properly conduct their work.

i6. All purchase and sale of mortgage agreements, sale or transfer of servicing rights o,r
other similar agreement related to any assignment, purchase or, sale of my mortgage loan
or servicing rights by you, any broker, affiliate company, parent company, servicers,
bank, government-sponsored enterprise, sub-servicers, mortgage broker, mortgage banker
or any holder of any right related to my mortgage, promissory note and, deed of trust
from the inception of my loan to the present date.
Case 25-03365 Document 2_ Filed in TXSB on 06/06/25 Page 14 of 67

Case 25- 7
Case 4:24-cv-02236 Document 1-5 Filed on 06/12/24 in TXSD Page 35 of 54

17, All prospectus’ related to the sale or transfer of my note, deed of trust, mortgage. and
servicing rights or other similar agreement related to any assignment, purchase or, sale of
my mortgage loan or servicing rights by you, any broker, affiliate company, parent
company, servicers, bank, government-sponsored enterprise, sub-servicers, mortgage
broker, mortgage banker or any holder of any right related to my mortgage, promissory
note and deed of trust from the inception of my loan to the present date.

18. All assignments, transfers, allonges, or other documents evidencing a transfer, sale or
assignment of my mortgage, deed of trust, promissory note or other documents that

secures payment by me to my obligation in this account from the inception of my loan to
the present date.

19. Has each sale, transfer or assignment of my mortgage or promissory note or any other
instrument I executed to secure my debt been recorded in the county property records in

the county and state in which my property is located from the inception of my loan to the
present date? Yes or No?

20. All deeds in lieu, modifications to my mortgage, promissory note or deed of trust from
the inception of my loan to the present date.

21. The electronic MERS number assigned to this account if this isa MERS Designated
Account.22, Proof of true sale of the note from alleged Lender to investors, by showing:
Wire transfer document(s), and/or
Signed purchase and sale agreement(s),

Bank statements or similar documentation.

23. The MERS Milestone Report, if the note number and security instrument was tracked by
Mortgage Electronic Registration Systems. I want to see the audit trail of the alleged
transfer in ownership and alleged transfer in security interest.

24. A complete audit history from alleged Joan origination, showing the dates payments were
applied, and to what internal accounts (i.e. principal, interest, suspense, escrow, etc.)

payments were applied.25. A complete and itemized statement of all advances or charges
against this account. .

26. A complete and itemized statement of the escrow for this account, if any, from the date of
the note origination to the date of your response to this letter.

27. All letters, statements and documents sent to me by your company.

28. All letters, statements and documents sent to me by agents, attorneys or representatives of
your company,

29. All letters, statements and documents sent to me by previous servicers, sub-servicers or
others in your loan file or in your contro! or possession or in the control or possession of
~ Gase,28:93365 Document 2_ Filed in TXSB on 06/06/25 Page 15 of 67
ase 25-3187 Document 38-Fited in TXSB O05

05/15/25 Page 13 of 30
Case 4:24-cv-02236 Document1-5 Filed on 06/12/24 in TXSD Page 36 of 54

any affiliate, parent company, agent, sub-servicer, servicer, attorney or other
representative of your company.

30. All electronic transfers, assignments, sales of my note, mortgage, deed of trust or other
security instrument. “

31, Have you purchased and charged to the account any Force-Placed Insurance?

32. A complete and itemized statement from the date of the note Origination to the date of
your response to this letter of the amounts charged for any forced-placed insurance, the date
of the charge, the name of the insurance company, the relation of the insurance company to
you or 2 related company, the amount of commission you received for each force-placed .
insuratice event, and an itemized statement of any other expenses related thereto.

33. A complete and itemized statement from the date of the note origination to the date of
your response to this letter of any suspense account entries and/or any corporate advance
entries related in any way to this account.

34, A complete and itemized statement from the date of the loan to the date of your response
to this letter of any property inspection fees, property preservation fees, broker opinion

fees, appraisal fees, bankruptcy monitoring fees, or other similar fees or expenses related
in any way to this loan. : , :

35. A statemient/provision under the security instrument and/or note that authorizes charging
any such fee against the account.

36. Copies ‘of all property ‘inspection reports and appraisals, broker price opinions, and
associated bills, invoices, and checks or wire transfers in payment thereof.

37. All agréements, contracts and understandings with vendors that have been paid for any
charge on my account from the inception of my loan to the present date.

38. Complete copy of any transaction report(s) indicating any charges for any “add on
products” sold to the debtors in connection with this account from the date of the note
origination to the date of your response to this letter.

39. Complete and itemized statement of any late charges added to this account from the date
of the note origination to the date of your response to this letter.

40, Complete and itemized statement of any fees incurred to modify, extend, or amend the
loan or to defer any payment or payments due under the terms of the loan, from the date
of the note origination to the date of your response to this letter,

41. In a spreadsheet form or in letter form in a columnar format, please detail for me each
and every credit on my account and the date such credit was posted to my account as well
as the date any credit was received.
Case 25-03365 Document 2_ Filed in TXSB on 06/06/25 Page 16 of 67

Vase co-slis? Document 38 Filed it TXSB on 05/15/25 Page 14 of 30
Case 4:24-cv-02236 Documenti-5 Filed on 06/12/24 in TXSD Page 37 of 54

42. In a spreadsheet form or in letter form in a columnar format, please detail for me each
and every debit on my account and the date such credit was posted to my account as well
as the date any debit was received.

43, For each debit or credit listed, provide the definition for each corresponding transaction
code you utilize.

44. For each transaction code, provide the master transaction code list used by you or
previous servicers.

45. Complete, itemized statement of the current amount needed to pay-off the alleged “loan”
in full,

46. Verification of any notification provided to me of a change in servicer.

47, Have attorney fees or legal fees ever been assessed to my account from the inception of
my loan to the present date?

48. If attomey fees or legal fees have been assessed to my account, detail each separate
assessment from the inception of my loan to the present date to include the date of such
assessment to my account.

49. Have attorney fees or legal fees ever been collected from my account from the inception
of my loan to the present date?

50. Detail each separate collection of attorney fees from my account from the inception of
my loan to the present date and provide the date of such collection from my account.

51, Provide the name and address of each attorney or law firm that has been paid any fees or
expenses related to my account from the inception of my loan to the present date.

32. Detail and list each separate attomey fee assessed to my account and for which
corresponding payment period or month such late fee was assessed from the inception of
my loan to present date.

93. Detail and list any adjustments in attomey fees or legal fees assessed and on what date
such adjustment was made and the reasons for such adjustment.

54. Has interest been charged’on any attorney fee or legal fee assessed or charged to my
account?

55. 1s interest allowed to be assessed or charged on attorney fees or legal fees charged or
assessed to my account?

56. How much in total attorney fees or legal fees have been assessed to my account from the
inception of my loan until present date?
Case 25- O3365 pocument 2 Filed in TXSB on 06/06/25 Page. 17 of 67

fue URW UU BUI toe

he lead ments Filed in TXSB on Usiloizo Page 15 oT 30

aaiiaiasnrittreieee nt 1-5 Filed on 06/12/24 in TXSD Page 40 of 54

BERETA lil

25-03365 Document 2_ Filed in TXSB on 06/06/25 Page 18 of 67
Case 98-31187 Bocument 48 ‘Filed in TXSB on Ob/14/25 Page 16 of 30

EXHIBIT B
Case 25-03365 Document 2_ Filed in TXSB on 06/06/25 Page 19 of 67.
Case 28-3118? Document 38 Fier TXSB On OSTTSIZ Page 17 of 30
Case 4:24-cv-02236 Document 1-5 Filed on 06/12/24in TXSD Page 46 of 54

f

t
a

: 1 1s
i

September 29, 2022

Selene Finance
9900 Richmond Avenue
Suite 400 South
Houston, Texas 77042

. Qualified Written Request

ce CMR: # 70210350000097500210
In the Matter of:

Charles Mosely

3005 Nita Street

Houston, Texas 77051

Account number: 2004963935

Dear Sir or Madam:

Please treat this letter as a “qualified written request” under Section 6(e) of the Real Estate
Settlement Procedures Act, 12-U.5.C. 2605(e). This request is made on behalf of the above-
named debtor, based on the pending dispute about the proper application of payments from the
debtors to interest, principal, escrow advances, and expenses (in that order of Priority as provided
for in the loan instruments); about your use of suspense accounts in connection with your receipt
of the debtors’ payments; about your use of legacy late charges with respect t0 mortgage
payments; about your use of automatically triggered property inspections and broker price
opinion charges and fees; and about legal fees and expenses that have been attached to this
account in the form of corporate advances. Specifically, I am requesting the following

information:
1, A complete and original life of loan transaction history to the date of your response to
this letter prepared by the Servicer from its own records using its own system and default

servicing personnel. Also, please identify the mortgage servicing software you use in connection
with this loan (MSP, LSAMS, etc).

2, A copy of your Key Loan Transaction history, bankruptcy work form, XLS spreadsheet,
or any other manually-prepared spreadsheet or record of all accounts associated with this

mortgage loan (this would include both recoverable and non-recoverable and restricted and non-
restricted accounts). ,

3. ° A full and complete plain-English definitional dictionary of all transaction codes and
other similar terms used in the records requested above or any of the other documents or records
requested or referred to herein.

4, If this is a MERS or MOM loan, please attach a copy of all MERS Milestone Reports.
Case 25-03365 Document 2_ Filed in TXSB on 06/06/25__Page 20 of 67

350.5

Case-25-34187 Bocument 38 Filed in TXSB on US/15/Z5_ Page 18 of 30
Case 4:24-cv-02236 Documenti-5 Filed on 06/12/24 in TXSD Page 47 of 54.

5. Full name, address, and telephone number of the Custodian of my original Promissory
Nate, including the name, address and, telephone number of any trustee or other
fiduciary. This request is being made pursuant to Section 1641(f)(2) of the Truth In -
Lending Act.

6. Full name, address, and telephone number of the Custodian of my original Security
Tuastrument, Including the lame, address and, telephone number of any Wrustee or other
fiduciary. This request is being made pursuant to Section 1641(6(2) of the Truth In

. Lending Act.

7. A physical location (address) of the original promissory note, original secarity
instrument, and all assignments of the security instrument, and a contact name and
phone number of someone who can arrange for inspection of said documents.

8. {fit is alleged that the original promissory note was Jost, how was it lost?
9. When was the original promissory note last seen?

10. Full name, address, and telephone number of the last person who saw the original
promissory note. "

11. In whose possession was the original promissory note when it was allegedly lost?

12, Full name, address and, telephone number of any person who has direct personal

information on the location of the original promissary note and the timing and method of
OSs.

13, Full name, address and, telephone number of any master servicers, servicers, sub-
Servicers, contingency servicers, back-up servicers or, special servicers for this account.

14. All data, information, notations, text, figures and, information contained in your

mortgage servicing and accounting computer systems including, but not limited to
Alitel’s wea any system by Alltell or any other similar mortgage servicing
software us you, any Servicers, or sub-servicer of

inception of my Ioan to the date written above. ou my mortgage account from the

15. All descriptions and legends of all Codes used in your mortgage servici i

c vicing and accountin

system so that the examiners, auditors and, experts retained to audit and review my °
mortgage account may properly conduct their work.

rch of servicing rights o,r
other similar agreement related to any assignment, purchase or, sale of my mortgage loan

. . mottgage, promissory note
from the inception of my loan to the present date. ms and, deed of trust
Case 25-03365 Document 2 Filed in TXSB on 06/06/25 Page 21 of 67

Case 20-1187" Document 38 Filed in TXSB on O5/15/25-Page 19 of 30
Case 4:24-cv-02236 Document 1-5 Filed on 06/12/24 in TXSD Page 38 of 54

57. How much in total attorney fees have been collected on my account from the inception of -
my loan until present date?

58. Identify in writing the provision, paragraph, section or sentence of any note, mortgage,
deed of trust or any agreement I signed authorized the assessment or collection of
attorney fees.

59, Have you reported the collection of late fees or late charges on my account as interest in
any statement to me or to the IRS?

60, Has any previous servicer or sub-servicer of my mortgage reported the collection of late
fees or late charges on my account as interest in any statement to me or to the IRS?

61. Do you consider the payment of late fees or late charges as liquidated.damages to you for
not receiving my payment on time?

62. Are late fees considered interest?

- 63. Detail in writing what expenses and damages you incurred or undertook for any late
payment,

’ 64, Were any of these expenses or damages related to any payment I made that was late
charged or assessed to my account in any other way?

65, If yes, describe what expenses or charges were charged or assessed to my account.

66. Identify in writing the provision, paragraph, section or sentence of any note, mortgage,
deed of, trust or any agreement I signed that authorized the assessment or collection of
late fees,

67. Detail and list each separate late fee assessed to my account and for which corresponding

payment period or month such late fee was assessed from the inception of my loan to
present date.

68. Detail and list any adjustments in late fees collected and on what date such adjustment
was made and the reasons for such adjustment.

69, Has interest been charged on any late fee assessed or charged to my account?

70. Is interest allowed to be assessed or charged on late fees charged or assessed to my
account? °

71, How much in total late charges have been assessed to my account from the inception of
my loan until present date?
Case 25-03365 Document 2 Filed in TXSB on 06/06/25 Page 22 of 67

Vase 20-1187 Document 38° Filed iff TXSB on 05/15/25 Page 20 of 30
Case 4:24-cv-02236 Document 1-5 Filed on 06/12/24 in TXSD Page 39 of 54

72. Provide the exact months or payment dates you and other previous servicers of my
account claim I have been late with a payment from the inception of my loan to the
present date.

73. How much in total late charges have been collected on my account from the inception of
my loan until present date?

74, Identify the provision, paragraph, section or sentence of any note, mortgage, deed of trust
or any agreement I signed that authorized the assessment or collection of property
inspection fees.

75. Have you labeled in any record or documenta property inspection as a misc. advance?

‘ 76. Have you labeled in any record or document a property inspection as a legal fee or
attomey fee?

77. Has interest been charged on any inspection fees assessed or charged to my account?
78. If yes, when and how much was charged?

79, Is interest allowed to be assessed or charged on inspection fees charged or assessed to my
account?

80. How much in total inspection fees have been assessed to my account from the inception
of my loan until present date? -

81. Identify where the originals of my entire Joan file are currently located and how they are
’ being stored, kept and protected?

82. Has my mortgage loan been made a part of any mortgage pool since the inception of my
loan?

You should be advised that within FIVE (5) DAYS you must send us a letter stating that
ou received this letter. After that time you have THIRTY (30 DAYS to fully respond as
er the time frame mandated by Coneress, in “Subtitle ‘E’ Mortgage Servicing” of the

‘‘Podd-Frank Wall Street Reform and Consumer Protection Act and pursuant to 12 U.S.C,
Section 2605(e)(1 (A) and Reg, X Section 3500.21{e)(1).

TRUTH-IN-LENDING ACT $1312)

Pursuant to 15 U.S.C. § 1641 @):

Please provide the. name, address and telephone number of the owner(s)-of the mortgage and the
master servicer of the mortgage. ,
Deb, Filed in TASB On OD/I5/25 Page ZI of 30

SSRs -5 Filed on 06/12/24 in TXSD Page 48 of 54
eee OR ina telat
fare aero elie

~

Sie met accrierl en Rtaccoearelt

7021 0350 o000 9750 oP1O

ry ‘ 7 Oy LX
SAU LOR eee ee

nob:
70210350000087S500210
Total $4.60
Media Mafl6 1 $3.49
hrmble. TX 779468 ao

Wer hts OIE a ag
EStinélud Deliv  *
acking #:

Tr
$549 OL? 7StF were cc... yy
(Forever) Tulips I $y bu - $0.60

Grand Total: ” $8.69

Credit Card Remit
Card Name: MasterCard
Account §: MMXXKXKXRXHNSS99
Approval #: 3ae5a6
Transaction #: 775

AID: AdQOONIDa2203 Chip
AL: US Debit

TN: Not Require

TES ee a i oe ey

$8.69

Text your tracking number to 28777 (2USPS)
to get the latest status. Standard Message
Data rates ‘may apply, You may alsa
Visit mew.usps. com USPS Tracking or cal.
1-800-222-1811,

Th a hurry? Se] f-service kiosks offer
quick and easy check-out, Any Retaf]
Associate can show you how,
Preview your Mail
Track your Packages
Sign up for FREE @
httas://1 nformedde) | very.Usps coq

All sales final on stamps and postage.
Refumis for guaranteed services only,
Thank you tompet business. —

Tel Lt fence,
Go to: +i 88.com/Paos
«: scafi th our mobile device,

or call 1-600-410-7420,
- ocument 2_ Filed in TXSB on 06/06/25 Page 24 of 67
Case oR Bt 18? Becument 38 Filed in TXSB on 05/15/25 Page 22 of 30

EXHIBIT C
Case 25-03365 Document 2 Filed in TXSB on 06/06/25 Page 25 of 67

Case’ 2o-sIIs/ Document 38 Filed in TXSB on 05/15/25 Page 23 of 30
Case 4:24-cv-02236 Document1-5 Filed on 06/12/24 in TXSD Page 42 of 54

April 13, 2023

Selene Finance LP
ATTIN: Customer Service Research -

P.O. Box 8279
Philadelphia, PA.19101-8279
Qualified Written Request

oo CMR: # 70200640000060931561
In the Matter of:

Charles Mosely

3005 Nita Street

Houston, Texas 77051
Account number: 2004963935

Dear Sir or Madam:

Please treat this letter as a “qualified written request” under Section 6(e). of the Real Estate
Settlement Procedures Act, 12 U.S.C. 2605(e).-This request is made on behalf of the above-
named debtor, based on the pending dispute about the proper application of payments from the
debtors to interest, principal, escrow advances, and expenses (in that order of priority as provided
for in the loan instruments); about your use of stispense accounts in connection with your receipt
. of the debtors’ payments; about your use of legacy late charges with respect to mortgage
payments, about your use of automatically triggered property inspections and broker price

opinion charges and fees; and about legal fees and expenses that have been attached to this
account in the form of corporate advances. Specifically, I am requesting the following
information: .

l. . Acomplete and original life of loan transaction history to the date of your response to
this letter prepared by the Servicer from its own records using its own system and default
servicing personnel. Also, please identify the mortgage servicing software you use in connection
with this loan (MSP, LSAMS, etc). - ,

2, A copy of your Key Loan Transaction history, bankruptcy work form, XLS spreadsheet,
or any other manually-prepared spreadsheet or record of all accounts associated with this

thortgage loan (this would include both recoverable and non-recoverable and restricted and non-
restricted accounts). -Ok

3. A full and complete plain-English definitional dictionary of all transaction codes and

other similar terms used in the records requested above or any ‘of the other documents or records
requested or referred to herein.

4. If this is & MERS or MOM loan, please attach a copy ofall MERS Milestone Reports.
Case 25-03365 Document 2_ Filed in TXSB on 06/06/25. Page 26 of 67 _

Case 25-31187 Document 38° “Filed in TXSB on US/15/25 Page 22 of 30" ~
Case 4:24-cv-02236 Document 1-5 -Filed on 06/12/24 in TXSD Page 43 of 54

5. If this is a MERS or MOM. Ioan, please attach a copy of all MIN Reports.

6. Please identify the full name, address and telephone number of the current holder of
the original mortgage note including the name, address and phone number of any Trustee
under the Trust or other fiduciary. This request is being made pursuant to Section 1641(f)(2) of
the Truth In Lending Act, which require the servicer to identify the holder of the debt. This
request is also being made pursuant to the amendments to RESPA under the Dodd-Frank Act...

7. Copies of all collection notes, collection record, communication files or any other form of
recorded data with respect to any communications between you and the debtor.

8. An itemized statement of the full amount needed to reinstate the mortgage as of the date
of your response along with an itemized pay-off statement.

9. Copies of all written or recorded communications between you and any non-lawyer third
parties regarding this mortgage {including but not limited to LPS Desktop communiqués, New
Trak communications, New Invoice transmittals, New Image transmittals, electronic
communications by email or otherwise, collection note, and any other form of written or
electronic document related to the servicing of or ownership of this loan),

10. All P-309 screen shots of the history all of the accounts (principal, interest, escrow, late
charges, legal fees, property inspection fees, broker price opinion fees, statutory expense fees,
miscellaneous fees, corporate advance fees, ete.) associated with this loan. '

1]. Please produce a full Life of Loan transaction history generated from the AS400 system,
including Loan History Inquiry, Fees Due Inquiry, Monthly Statement Request and History,
Impound/Escrow Account Review, Servicing activities History (Combined View), Bankruptcy
Department Screens if applicable, Bankruptcy Account Follow-Up if applicable, Ist mortgage
Account Status, Field Service Inspection Selection, Fees Due Listing, all Comment Logs from
BK, FC, Customer Service Departments, and all fees and costs and escrow accounting details.

12. Please produce copies of all invoices from the servicer for all third-party vendors
including proof of payment.

You Should be advised that you must acknowledge receipt of this qualified written request
within five (5)-business days, pursuant to 12.U.S.C. Section 2605(e) (1) (A) as amended

effective July 16, 2010, by the Dodd-Frank Finance Reform Act and Reg. X Section
3500.21(e) (1).

You should also be advised that the debtor herein will seek the recovery of damages, costs, and
reasonable legal fees for each failure to comply with the question and requests herein. The debtor
also reserve the right to seek statutory damages for each violation of any part of Section 2605 of
Title 12 of the United States Codes in the amount of $2,000.00 for each violation.

*Also note that as a mortgage servicers you required to fully answer all these questions within
10 days from the date you receive this letter, this is my second request.

Sincerely,
0 Document 2, Filed in TXSB on'06/06/25 Page 27 of 67
UJ L

swe ae ance 25-34 t 87 — DOCH 8—Fited KSBurt 5 —Page 25 of 86
eaeailaiae rene mT stelcitea) nti-5 Filed on 06/12/24 in TXSD Page 44 of 54
Deeg ° .

RUC Race e eT ee nadie earn
' voile

' '€

fFUCU UYU WOW SUIS Baby

N4/47/2023
FA MGH 0,2,
C7
fir AUce- 15¢1
Return Rec: ipt eek, Se

Tracking #: .
9590 9402 sdau zed we. cd

Total $h13

Gro. 4 Total : - . $3.15

Reblt Ca! Somitted $58.13
Card Has terfard

Accouy MNKANKKAANKK LOSS
Apprave . 520

Trafioavtiis. 9 Tt

Receipt #: o .sgu

Delit Card Purchase: 248 13

AID: aAaconHOO42003 tea
AL: US Debit

PIN: Verified

Sach Rark ” “ou

fext your tracking rumber to 28777 (OUSPS:
to get the latest status, Stéendard Message
aid Data rates may apply. You may als:
visit www.usps.com USPS Tracking or cal!
1-800-222-1814.

Preview your Mail

Track your Packages

Sign up for FREE B
itps://informaddel very. crops com

All salus final on stamps arnl Then.
Refunds for wus anteed services —-1¢,
Thark: you aw your hisinges.

Tell us abot uctg tha
Got tips: /4ius i
ar Ay Ts.

7.
al

C 25-03365 Document 2 Filed in TXSB on 06/06/25 Page 28 of 67
Case 26-31187 Document 38. Filed in TXSB on 05/15/25 Page 26 of 30

EXHIBIT D-
‘Case 25-93365 Document 2_ Filed in TXSB on 06/06/25 Page 29 of 67
Case 2-31187—Document 38—Filed in PSB on 05/15/25—Paye 27 O30

Case 4:24-cv-02236 Documenti-5 Filed on 06/12/24 in TXSD Page 50 of 54

NOTICE
From:
Charies Mosely
3005 Nita Street’
Houston, Texas 77051
Hereinafter collectively referred to as "Claimant"

To: :

Selene Finance LP

P. O. Box 8619

Philadelphia, PA 19101-8619

Hereinafter collectively referred to as RESPONDENT, you, your company

RE: Alleged account # 2004993985 Certified Mail # 70200640000060931585
02/15/24

NOTICE OF DISPUTE:
DEMAND FOR VALIDATION AND PROOF OF CLAIM

To Whom it May Concem

This letter is being sent to you in response to a computer generated, unsigned fetter dated August 24, 2009 (DF793), fetter
received by Claimant from your offices. Be advised that your claim is disputed and validation and proof of claim of the disputed
debt is requested in accordance with the Falr Debt Collection Practices Act, 15 USC § 1692 and as amended by adding
the following new Tite 8 USC § B02 et seq., and the Fair Credit Billing Act, 15 USC. § 1666 etsaq. All of which work in
canjunction with eack other, including the Truth in Lending Act (TILA) 15 USC 7607 et seq. [tis not now, nor has it ever
been, my intention to avoid paying any obligation that is fawfully owed by the Claimant. in order to make arrangements to pay
an obligation which may be lawfully owed, please document and verify the “debt” by complying, in good faith, with this request
for validation and return it to me, within thirty (30) days of receipt of this letter.

This is NOT a request for verification” or proof of Claimant mailing address, but a tequest for VALIDATION and PROOF OF
CLAIM made pursuant to the above named Titles and Sections. | respectfully request that your offices provide Claimant with
competent evidence as per the attached “Declaration and Proof of Claim* that | have any legal obligation to pay you the
unsubstantiated alleged debt. Furthermore you shall cease all verbal communication. No phone caits to the Claimant.

At this time | will also inform you that if your offices have reported invalidated information fo any of the 3 major Credit Bureaus,
such as, Equifax, Experian and Tranelnion prior to validation and proof of claim of the disputed debt, this action might
constitute fraud under both Federal and State Laws. Due to this fact; if any negative mark is found on any of Claimant credit

reports by your company or the company that you represent | will not hesitate in bringing legal action against you and your
cllent for the following:

— Violation of the Fair Credit Reporting Act

— Violation of the Fair Debt Collection Practices Act

— Defamation of Character

— Violation of United States Code TITLE 48 PART 4 CHAPTER 63 § 1341 (Mail Fraud)

This debt fs considered to be invalid until | recelve proper validation and your offices provide Claimant with proof of claim of the
disputed debt. Your offices have 30 days to produce the required documentation in accordance with FTC guidelines. During
this validation period and proof of claim, if any action is taken which could be considered detrimental to any of Claimant credit
Teports, said action will be considered a "dishonor" and cause the seif-executing contract portion of this notice to be
Implamented. This includes any listing any information to a credit reporting repository that could ba inaccurate or invalidated.

if your offices fail to respond to this validation and proof of claim request within 30 days from the date of your receipt, all

references to this account must be deleted and completely removed from Claimant credit file and a capy of such deletion
request shall be sent to Clalmant Immediately.

Title 8 USC § 609, Validation of debts [15 USC 1 632g]

(b) If the consumer notifies the debt collector in writing within the thirty-day period described in subsection (a) that the debt, or
any portion thereof, is disputed, or that the consumer requests the name and address of the original creditor, the debt ° .

the debt or any copy of a judgment, or the name and address of the original creditor, and a copy of such Verification or
Judgment, or name and address of the original creditar, is mailed to the consumer by the debt collector.

Debt Validation Proof of Claim ~—<Your N. Here, Sr.> lof 3
BLACK’S LAW DICTIONARY:

VERIFICATION. Confitmation of correctness, truth, or authenticity, by affidavit, oath, or deposition.

Counter Claim with Self-executing Contract
If Respondent, such as by commission, omission, and othenvise;

(a) Fails to provide VALIDATION and PROOF OF CLAIM within thirty (30) days;

(b) Makes a false representation of the character of the herein above-referenced alleged debt;

(sc) Makes a false representation of the iegal status of the herein above-referenced alleged debt:

(d} Makes any threat of action that cannot legally be taken, in viclation of any applicable faw, such as, the faw
codified at the Fair Debt Coltection Practices Act,

will be construed to be Respondent's tacit acceptance of the terms and condition stated herein. In which case RESPONDENT
_ agrees to;

(e) Voluntarily report this account to ail credit bureaus as “paid as agreed:" and,

(f) Voluntarily waive all claims against Claimant, their Agent or Heirs with prejudice; and,

(g} The matter regarding the alleged debt is finally and totally settled; and,

(h) Voluntarily admits the Claimant is the depositor for this account, that Respondent risked none of their assets at
any time regarding this account and that they failed to disclose these material facts to Claimant; and,

(i) Voluntarily repart the date of last activity on this account is the date of this notica.

RESPONDENT also agrees te:

1. Voluntarily authorize Claimant te record a UCC-1 on RESPONDENT as debtor to secure the debt owed Claimant;
and,

2. Voluntarily prove thelr claim as a RESPONDENT in possession of Claimant property Ina involuntary bankruptcy
Praceeding process; and, °

3, Voluntarily compensate Claimant fer ALL costs and attomeys/consuitant fees; and, :

4. Resolve ALL claims by Claimant, against Respondent, et al, exclusively and finally through binding arbitration, if
necessary, to enforce the above terms, conditions, fees, penalties and damages. Arbitration replaces the right to go
to court except to confirm an arbitration award. The arbitration organization that is selected will apply Its code or
procedure in effect at the time the arbitration is filed, Subject to this agreement. The arbitration will be conducted
before a single arbitrator, The arbitratar's authority Is limited solely ta the Claims between Claimant and Respondent
afone, The arbitration will not be consolidated with any other arbitration proceeding. If Claimant prevails In the
arbitration of any Claim against Respondent, Respondent will reimburse Ctalmant for any fees Claimant pald to the
arbitration organization in connection with the arbitration. Any decision rendered in such arbitration proceedings will
ba final and binding on the parties, and judgment may be entered in a court of competent jurisdiction. This arbitration
provision applies to al! Claims now in existence ar that may arise in the future. The arbitration provision shall survive
any voluntary payment of Claimant's claim against Respondent, in full, or any bankruptcy by Respondent.

This is a private communication and |s Intended to affect an out-of-court setiement of this matter. Conduct yourself
accordingly. Should any provision on this agreement be found to not be enforceable by order of a court of competent

jurisdiction, it shall not adversely affect any other provision of this agreement and reasonable opportunity and effort shall be
taken to modify it to become enfarceable.

“Equality under the Law is PARAMOUNT and MANDATORY by Law"

NOTICE TO THE PRINCIPAL IS NOTICE TO THE AGENT
NOTICE TO THE AGENT IS NOTICE TO THE PRINCIPAL
Applicable to all successors and asstpns
Silence is Acquiescence/Agreement/Dishonor

Executed on this 15th day of February, 2024 by,

Charles Mosely

GREDITORIDEBT GOLLECTOR DEGLARATION and PROOF OF CLAIM

Debt Validation Proof of Claim —<Your N, Here, Sr> 20f7

- i in TXSB 06/06/25 ‘Page 31 of 67
ase 25-31 187 Document 38- Filed In 1XSB on US/1S/25—Page 20 oF 30

Case 4:24-cv-02236 Document1-5 Filed on 06/12/24 in TXSD Page 52 of 54

Please provide all of the following Information ard submit the appropriate forms end paperwork back to me along
with an Affidavit signed In Accordance with 28 U.S.C. § 1746 within 30 days fram the date of your receipt of this
request for valldation and proof of claim.

Alleged Name and Address of Creditor

Nama on File af Alleged Dabtor:

Alleged Account #:

Amourt of alleged debt:

Date that this alleged debt became/becomes payable:

Date of criginal charge off or delinquency:

Amount pald if debt was purchased:

an pm fs © NY >

Plaase attach a copy of any signed agreement alleged debtor/claimant has made with debt collector, or other
verifiable proof that debtor/claimant has a contractual obligation to pay dabt collector.

9. Fumish a copy of the original promissary note/agreement redacting my social sacurity number to prevent
identity theft and state that your client named above is the holder in due course of the note agreament and will
produce the original fer my own and a judge's Inspection should there be a trial to cantest these matters.

10. Produces the account and general ledger etatement showing the full accounting of the alleged obligation that
you are now attempting to collect. Such as; FR 2046 balance ahcot (OMB #’s 2046, 2048, 2089), 1089 OID
roport, 8-3/A regictration statement, 424-B5 prospectus, RC-S & RC-B call schedules

11. Idantify by name and address all persons, corporations, associations, or any other parties having an interest in
legal proceedings regarding the alleged debt.

12. Verified specifically, name(s) of person(s) assigned as Trustee to handla Corporations affalrs and to be held
accountable for the actions of the Corporation, Such as CFO and subordinates responeible for debt coligetiana.

13. Vertfy ae a third party debt collector, you have not purchased evidence of the alleged debt and are proceeding
with coflection activity in the name of the original maker of the note. -

14, Verify you know and understand that certain clauses In a contract of adhesion, such ag a 6o-called forum

selection clause, ara unenforceable unless the party to whom the contract Is extended could heve rejected the
Clause without impunity,

15. Provide verification from the stated creditor that you are authorized to ect for them,

16, Verify that you know and understand that contacting me agaln after recalpt of this notice without providing
procedurally proper validation of the debt constitutes the use of interstate communications In a echeme of fraud
by advancing a writing, which you know is false with the intention that others rely on the written communication to
their detriment a violation of United States Coda TITLE 18 PART 4 CHAPTER 83 § 1341.

Disputing the Debt,

t ay of O24

By:

ang Mosely (axpresaly all rights reserved)

Dabt Validation Proof of Claim —<Your N. Here, Sr> 3of3

nel

tf
ffl
i

7020 Ob
; ‘I | ae

i j
“a

eee Moret tem aielts) om Orn pan

F até

4
I

ae:
ia
a
ae
El
oy
oa
fe
a
4
i
a
i
fal
Py
ri
if

Total

Grand Total :

Debit Card Ronit
Card Nama; MasterCard :
Account #: XXKKXNXKXNXXS930
Approval #: 2CE942
Transaction #: 508
Receipt #: 034648 -
Debit Card Purchase: $58.73
ATID: agoocot00d92039 ---
AL: US Debit
PIN: Verified

Cash Back

Chip

Text your tracking number to 28777 (2USPS)
to get the Jatest statis. Standard Hessage
and. Data rates may apply. You may also
Visit wew.usps.com USPS Tracking or cal]

1-800-222-1811,

Preview your Mall
Track your Packages
Sign up for FREE 8
https: //fnformeddal { very.usps.com

All sales final on stazps and postage.
Refunds for guaranteed services only.
Thank you for your business.

Tell us about your experience.
Go to: https; // erlence.com/Pas
or sean this mobile device,

WEN: 480362-0058

Receipt #: 840-577G0055-1-5450240-2
Clerk: 02

Bea) fOr Pole heal ee li] eee f= 2@)

ese)

Case p25 Op Document.2 Elled in TXSB on 06/06/25 Page 32 of 67 .
UCase 29- age 3sU0 °

eaSenEe 4a? ats Document 1-5 Filed on 06/12/24 in TXSD Page 53 of 54

Se Le bolor« Matos @

i pieoey uimay ORSetog

i sy imag?

we
Aebeet] uo t00000 6

Sd

a
a

o
enauby O
panne

Apeid

nel
quatshs ey

UOTELLZD

ry J

fom TO

NE Fe

Z| Bee Oo Tf

qc 2 aay —.(D

ig Rar. mn

sor eS
tte 2 2
B ietoo,., ~)
=>
T= oI

eonty! 5

Wo Sif} Uo 20"

Teco DU esp £0 EC GYR OF PIED

30} POUCA

CU OEY a

‘nod 6) peo ely uingad UBS OM JeIR Os
eauanel tf, UO SoUpPE Pua EMU NOK WH.

“4

“ppur sg", ewe ed

elites [aa RE Ree eee kre r 1aINe |

3

name A eels

a

ib

ovo

aa

“x
_ exmsuts ¥ |

POET eRe Teel samt as ie meee BLL ee

Case 25-03365 Document 2 Filed in TXSB on 06/06/25 Page 33 of 67

EXHIBIT E
6/4/25, 2:42 AM

HOME FIDE

Compose

Inbox 7.3K
Unread

Starred

Drafts 176
Sent

Archive

Spam

Trash

*” Less

Views Hide
Photos

Documents

& Emails to myself

tea Subscriptions

& Travel

Folders Hide

+ New Folder
ICLICKBK
2 amend 2
AARP 23
AB 2
ABEBOOKS 16
ACADEMY
ACAD] 88
ACAOM Clinic
ACCORD 12
ACD 3
ADAM 8
ADOBE
ALIBRIS 5
AMAZON 205
AMAZON DELE... 126
ANM fs 5
APPLE
APPRAISAL REPAIR Q...
ATT
att wireless "1
ATTY Alton

AUTO PARTS WH 4

NEWS

FINARCE SPORTS ENTERTAINMENT LIFE GAMES SHOPPIRG

Find messages, documents, photos or peaple Advanced

© Back @ GQ mm BB Archive Eg Move TI Delete Qspam -+ av X

~ WRA000048057 CHARLES MOSELY AT&T Yahoo../Inbox ¥¥

Case 25-03365 Docum@ds?aunréad>chodahioneGshugiBGukeo/ afar VaReqed of 67

New iFhone

Ae @ #

MORE... Bk

Home

+H © Personal Lines fi) % Tue, Jun 3 at536PM YY

From; personallines@wellingtoninsgroup.com

To: acdsee ot te

Good afternoon Mr. Mosely,
The requested Letter of Experience is attached.
Kindly,

Ana M. Zapata
Customer Care Unit- CSR I
Wellington Insurance Group
6801 Calmont Ave

Fort Worth, TX 76116
Phone: 800-880-0474

Email: personalines@welfingtoninsgroup.com

We|[!ngton.

www.welllngtoninsgroup.com

Gonfidentiatity Notice: This e-mail message is for the sola use of the intended recipient{s) and may contain confidential
and privileged Information exempt fram disclosure under applicable Jaw. Unauthorized review, use, disclosure, or
distribution is strictly prohibited, if you are not the Intended recipient, please contact the sender by reply e-mall and
destroy the original and aff coples of the message, Thank you,

Attachment. pdf
20.18

Reply, Reply All or Forward

Sh ive o By

httos://mailvahinn eamidfinidarc/ imanannnn thd ton
PP0d02

Case 25-03365 Document 2 Filed in TXSB on 06/06/25 Page 35 Of 67

Aventus Insurance Company
P.O. Box 230
Fort Worth, TX 76101

Notice Date: 6/02/25
Reply Date: 6/02/25
Effective Date: 10/03/24
Expiration Date: 10/03/25

Policy Number: WRA Cons

CHARLES MOSELY R.G. SMITH INSURANCE AGENCY

3005 NITA st 4660 Beechnut Ste 250
HOUSTON, TX 77051-4139 Houston, TX 77096

Letter Of Experience for In-Force Policies

The above policy was issued by Aventus Insurance Company
for the above insured for a risk located at:
3005 Nita st

Houston TK 77051
This policy is currently in-force with an effective date of
10/03/2019 and an expiration date of 10/03/2025, with no

lapse in coverage. To date, there have been 0 Claims filed
on this policy.

We appreciate your business.

AZ3422
Underwriting Department

WRA 000048057-5
Company Copy
Case 25-03365 Document 2 Filed in TXSB on 06/06/25 Page 36 of 67

EXHIBIT F
PPOGO2

Case 25-03865 Document 2 Filed in TXSB on 06/06/25 Page 37 Of 67 —

Aventus Insurance Company
P.O. Box 230
Fort Worth, TX 76101
Notice Date: 2/26/24
Reply Date: 2/26/24
Effective Date: 10/03/23
Expiration Date: 10/03/24
Policy Number: WRA Ghp@pae7e4

R.G. SMITH INSURANCE AGENCY CHARLES MOSELY
4660 Beechnut Ste 250 3005 NITA ST
Houston, TX 77096 HOUSTON, TX 77051~4139

Letter Of Experience for In-Force Policies

The above policy was issued by Aventus Insurance Company
for the above insured for a risk located at

3005 Nita St

Houston TX 77051

This pelicy is currently in-force with an effective date of
10/03/2019 and an expiration date of 10/03/2024, with no
lapse in coverage. To date, there have been 0 claims filed
on this policy.

We appreciate your business.

AZ3422
Underwriting Department

WRA 000048057-4
Agent Copy
Case 25-03365 Document 2 Filed in TXSB on 06/06/25 Page 38 of 67

EXHIBIT G
Case 25-03365 Document 2 Filed in TXSB on 06/06/25” Page 35 of 67

r’ Southern Vanguard insurance Company
IN RHP ‘om Frat NONRENEWAL

' Customer Servica: 1-868-432-6393
Relationships Herttage. People

Claim Reporting: 1-888-432-9303

Policy Number: TXHP teeaseeienm Policy Effective Date: 6/29/2019
Process Date: 07/31/2019 Policy Expiration Date: 5/29/2020
Nameg insured and Mailing Address: Agency: 34a4
CHARLES MOSELY R.G. SMITH INSURANCE AGENCY
3005 NITA ST
HOUSTON , TX 77081 Address:
4660 BEECHNLUT ST STE 250
HOUSTON, TX 77096-1837
Phone Number: (713) 661-3246
Phone Number: (999) 999-9999 Email: RGSMITHINS@ATT.NET

YOUR POLICY WILL RENEW AS OF THE DATE AND TIME SHOWN ABOVE.

The terms and conditions of the Original policy remain unchanged.

. 3005 NITA ST
Location of Insured Property: O05 NITA S
HOUSTON, TX. 77054

Case 25-03365 Document 2 Filed in TXSB on 06/06/25 Page 40 of 67

EXHIBIT H
Case 25-03365 Document 2 Filed in TXSB on 06/06/25 Page 41 of 67

me = —
UB AY ascocanon N

Date Processed:3/04/24 Agent Name:Charles Edward Foy

Policy Number: TFPHOS@@@Eere Agent Phone:(713) 661-3246
Policyholder:Charles Mosely Agent Address:4660 Beechnut St Ste. 250
Property Location:3005 Nita St, Houston, TX 77096-1832

Houston, TX 7705]

To Whom it may concern:
The policyholder listed above had a Texas FAIR Plan policy from March 27, 2012,throughJuly 15, 2013, at the
following location:

3005 Nita St
Houston, TX 7705]

The following claim/loss (4TF00000050104) was paid to the insured during the time we insured the property.

Date Cause of Loss Amount Paid Status
4/27/2013 Hail $3,349.39 Closed

if you have any questions or concerns about this letter, please contact the agent or call us at (800) 979-6440.

Sincerely,

Texas FAIR Plan Association
Underwriting Department

Texas FAIR Flan Association
PO Box 99080 Austin, TX 78709-9080

(800) 979-6440 | www.texasfairplanorg lofl
Case 25-03365 Document2 Filed in TXSB on 06/06/25" Pagé 42 of 67

ae : =
7 i cay 5 Pp
Ua eY ssoosnen

Date Processed:3/04/24 Agent Name:Charles Edward Foy

Policy Number:TFPH@SeReamesp Agent Phone:(713) 661-3246
Policyholder:Charles Mosely Agent Address:4660 Beechnut St Ste, 250
Property Location:3005 Nita St, Houston, TX 77096-1832

Houston,TX 77051

‘To Whom it may concern:

The policyholder listed above had a Texas FAIR Plan policy from July 31,2013,throughMay 20, 2014, at the
following location:

3005 Nita St
Houston, TX 7705]

There were no losses paid to the insured during the time we insured the property.

If you have any questions or concerns about this letter, please contact the agent or call us at (800) 979-6440,

Sincerely,

Texas FAIR Plan Association
Underwriting Department

Texas FAIR Plan Association
PO Box 99080 Austin, TX 78709-9080

(800) 979-6440 | www. texasfairplan.ore lof!
Case 25-03365 Document 2. Filed in TXSB on 06/06/25 Page 43 of 67

yay TEXAS FAIR PLAN
ASSOCIATION

Date Processed:3/04/24 Agent Name:Charles Edward Foy

Policy Number: TF PHEGIEEEaEse Agent Phone:(713) 661-3246
Policyholder:Charles Mosely Agent Address:4660 Beechnut St Ste. 250
Property Location:3005 Nita St, Houston, TX 77096-1832

Houston, TX 77051

To Whom it may concern:

The policyholder listed above had a Texas FAIR Plan policy fram May 27, 20 14,throughMarch 15, 2015, at the
following location:

3005 Nita St
Houston, TX 77051

There were no losses paid to the insured during the time we insured the property,

If you have any questions or concerns about this letter, please contact the agent or call us at (800) 979-6440,

Sincerely,

Texas FAIR Plan Association
Underwriting Department

Texas FAIR Plan Association
PO Box 99080 Austin, TX 78709-9086

(800} 979-6440 | www. texasfairplan.org lof]
Case 25-03365 Document 2 Filed in TXSB on 06/06/25 Page 44 of 67

EXHIBIT I

t 1

eae rae

Certified Document Number: 114616017 - Page 2 of 23

Tt a ue 2 + “pep: . : 7
1. Case 25-09365° DoCUHHUMRT 1 ile Ca OB 0H/9925 Bage As ot 6
vc i. } 4.

Return To:

WELLS FARGO BANK, NLA

FINAL DOCUMENTS X9995-07M

1200 BLUE GENTIAN ROAD

EAGAN, MN’ 88421-7869 ——-—~---———__..._ Se ma
. Prepared By:

WELLS FARGO BANK, NA,

2701 WELLSFARGO WAY

MINNEAPOLIS, MN 55467.

Space Above This Lina For Recording Duty

DEED OF TRUST

PERSON, YOU MAY REMOVE OR STRIKE ANY OR ALL OF THE

DEFINITIONS

Words used In multiple gestions of this document are defined below and other words are
Cefined Jn Sections 3, 11, 18, 18, 20 and 21, Certain rulas regarding the usaga of words usad
In thls dooument are also provided In Sactlon 16, . '

(A) "Security Instrument” means this doaument, whieh Is datad OCTOBER 4, 2008
together with all Riders to this dooument,

(B) "Borrawar* Is

CHARLES RAY MOSELY, AN UNMARRIED PERSON

GF 9 OS(°F 773
Bonvwer Is tha grantor under this Sacurity Instrument. 27/35. NEDDORE
(C) "Lender" Is WELLS FARGO'BANK, NA, Ss? ER

Lender Is a National Asecelation
organized and existing under the laws of THE UNITED STATES OF AMERICA

TEXAS - Single Family « o/Froddie Mac UNIFORM INSTRUMENT FORM $044 1/01
Page 1 of 19 Patiala: ARS \ BTA Rey 074 (07

DOCUMENT HAS SEE
ELECTRONICALLY RECORDED

APP. 1
Certified Document Number: 114616017 - Page 7 of 23

"Case 25-0386" DULL RA Ae Fterlionrodiapian TIES PRG GD'Gr a) O7

elther event, or If Lender acquires tha Property under Sect
hereby asalgne to Lander {a) Borrower's rights to any fnsura

we oon OF Borrower's rights {other than the right to any refund of uneamed premiums pald by
Borrower) Under all ‘Inguranee Policies covartig the Property. Insotar-ae ‘Such rights ~are—-—-——— —- .....

applicable to tha coverage of the Property. Lander may use the Insurance proceeds aither
to repair or rectors the Proporty or to pay amounts unpald uader the Note or this Security
Instrument, whether or not than dus.

& Occupancy, Borrower shail Occupy, establish, and use the Property aa Jarrowar'g
principal rasidance within 60 days after the executlon of this Security tnatrument and shall
continve to ceoupy tha Property as Bormwar's principal residence for at laast ona year aftor
the date of oocupanay, Unlass Lender otherwise agresa In writing, which consent shall nat
be unreasonably withheld, or unless extenuating elrcumstances axist which are beyond

7. Prasarvation, Maintenance and Protection of the Property; Inspections. Borrower
ahall not destroy, damage or impair the Proparty, allow the Property to deteriorata or
commit waste on the Property, Whether cr not Borrower le residing In the Prope

proceeds are pald In connectlon with damage. to, or the taking of, the Property, Borrowar
shall be responsible for repairing or restaring tha Property only ff Lender has released
Prooeeds for such purposes. lendar may dishursa Proceeds forthe repalrs and restoration
In a@ single payment or fn q series of progress paymanta as the work Is complated. H the
Insurance or condemnation Proceeds are nol suflolent to repalr or restora the Property,
Borrower is not ralleved of Borrower's obligation for tha completion of such repalr or
restoration, .

Lender or ils agent may make reasonable entries upon and Inapsotions of the Property.
if It has reasonable cause, Lender may Inspect the Interior of the Improvements on the
Property. Lender shall glva Borrower natloe at the time of or prior to such an Interlor
Inspection specifying such reasonable causa,

8, Borrower's Loan Application, Borrower shall bo In default if, during the Loan
application proosss, Borrower or any persons or antities acting al the direction of Soroawer
or with Borrower'a knowledge or consent gave materially false, misieading, or Inaccurate
Information or atataments to Lendar {or falled to provide Lendor with mata fal Information)
in connection with the Loan, Material representations Include, but are net Hmited fo,

representations soncaming Borrower's occupancy of tha Property as Borrowar's principal
residence,

5. Protection of Lender's interest in tha Property and Rights Under this Sacu
Instrument. if (a) Barrower falls to perform the covenants and agreements oontalned In this-
Seourity Instrument, (b} there Is a legal Procaeding that might signifleantly affect Lender's
Interest In the Property and/or rights under this Security Instrumant (such ae a proceading
In bankruptey, probate, for condsmnatian or fortalture, for enforcement of 8 jlen which may
attain priority over thls Seourity Inetrumsnt or to anfarae laws or regulations), or

aya Rey 10/DAO Page a of 19 rnain_ AMA FORM 3044 = $/o1t
Certified Document Number: 114616017 - Page 8 of 23

‘Case 25-0S3E8 DOL SHBAR AZ F fdedrom BSROARL ALES A2gg46z fe”

Any amounts disbursed by Lender under this Seatlon 8 shall become additional deat of

mower secured by this Security Instrument. These amounts shall bear Interact at the
Note rate from the date of disbursement and shail be payable, with such lnterest, upon
notloe from.Lender to Borrower requesting payment,

I this Security Instrument is on a |saeehoid, Borrower shall comply with all the
provisions of the leage, If Borrower acquires fas tiila to the Property, thesloesshoid and the
fee title shall not Merge Unless Lender agreas to the merger In writing,

making the Loan, Borrower shall pay the premlums required to maintain the Mortgage

Insurance In effet, Hf, for any reason, the Mortgage Insurance coverage required by Lender
_ Seases to be avallable from the mortgage Ineurer that previously provided such insurance

Separalaly designated paymente toward the premiums
for Mortgage Insurance, Borrower shall pay tha premluma raqulred to obtaln coverage
substantially equivalent to the Mortgage Insurance Previously In affact, at a cost

non-refundable, notwithstanding the faot that the Loan Ie ultimately pald In full, and Lender
Shall not be raqutrad to pey Borrower any Interest or eamings on éuch fosa ragorve.

resarve, until Lender's requirement for Mortgage Inauranea anda In accordance with any
Written agreement botwasn Borrower and Lander Providing for such tarmination or untl]

BTXop Ray t1Ma0 Page i of 18 vita Ltd FORM S044 4/01

APP. 9
Certifted Document Number: 114616017 - Page 9 of 23

"Case 25-O3S68'° DHLEH RATT 22 FifdetinrTO@Eraan MCHYaIBS pages al °7

As a result of thease agreaments, Lender, any Purchaser of t
any ralnsurer, any other entity, or any affillate of any of the foregoing, may recatve
or {ndireetly) amounts that delve from {or might bs oharactarizad
Borrower's Payments for Mortgage insurance, in exchange for sharing
mortgage insurer's rlak, or reduoing logaes, If su

Lenda

the insurer, the arrangement |s often termed “oaptlve retnsuranee,” Further;

(

for Mortgage Insurance, or any other tarma of tha Loan, Such agreemants w

Mortgage Insurance refmburses Lendar (or any entity that purchases the Note) for

certaln losses # may Inour if Borrower does not repay the Loan as agreed, Borrower ts not
a party to the Mortgage Insurance.

oe Tne a8e-Ineurers ovaluate thelr total.rlsk on all-such-Insuranes-In-force fromtimeto—
tlma,

and may enter into agreamanta with other partles that share or modify thetr risk, or

he Note, ancthar insurer,

{dlragtly
4s) a portlon of
or modifying the

oh agreement provides that an affilate of
T takes a share of the Insurer's risk In exohange for a share.of the Premfums pald to

@) Any such agreements will not Affect the antounta that Borrower haa agreed to pay
il mot Increase

the amount Borrower will owe for Martgage Insurance, and thay will not antitie Borrowar to
any refund,

b} Any such agroaments WIH not affect the rights Borrower has - If any - with reapact
Mortgage Instrance undor tha Homeowners Protection Act of 1992 or any other faw,
righta may inciude the Tight to recalve cartain dleclosuras, to Fequost and obtaln

cancellation of tha Mortgage Insuranca, to havo the Mortgage Ineuranca terminated
automatoally, and/or to Tecelva a rofund of any Mertgage Inauranca Premiums that ware
unearned at the time of auch cancallation or termination,

11. Aselgnment of Miscellanaous Proceeds; Forfalture, Af] Miscellaneous Proceeds are
hareby assigned to and shall be pald to Lender,

provided that such Inspection shall ba undertaken promptly, Lender may pay for tha repasrs

and re

storation In a single disbursamant of in 4 serles of progress payments aa the work !s

complsted, Unless an agreemant Is made In writing or Applicable Law requires Interest to
bé paid on such Miscellanacue Proceeds, Lendar shall not ba required to pay Borrower any

& applied to the sums seclired by this Spourity Instrument, whether or not then dua,

with the exoass, if any, pald to Borrower, Suoh Miscellaneous Proceeds shall ba Bpplled In

STK

Rav TvEavoo Page 19 of 49 stun LMA, FORM 3044 4/04

APP. 10
Certified Document Number: [14616017 - Page 10 of 23

Case 25-B838S"°D HOGHERRA2 FRuedrorT BEBO NSTOGLBE Page ads 31°”

In the evant of tote] taking, destruction, or loss tn value of the Property, tha

Miscallaneous Proceeds shall be applled to the SUM secured by thie Seourity Inetrumant,
Whether or not then dua, with the exceas, If any, pald to Borrower.

-~- —— Inthe evant of.a_pactlal.taking,.d sstruotion,.or loss In_value, of the _Proparty In.which the _

falr market value of the Property immediately before the partlal taking, destruction, or igss_

In value Is squal to Or greater than the amount of the sums secured by this Securlty
Instrument Immediately befors tha partial taking, destruction, of loge in value, unfoss
Borrower and Lender otherwise agraa In writlng, the sums seaured by thls Saourtty
Instrument shall be reduced by tha amount of tha Miscellaneous Proosads multiplied by the
following fraotlon: (a) the total amount of the Sums eecured Immediately before tha partial
taking, destruction, or toss In value divided by (b) the falr market value of the Proparty
Immediately before the partlal taking, dastruction, or logs in valus, Any balance shall be
pald to Borrower,

In the event ofa Partla! taldag, destruction, or loss In value of the Property In whioh the
ielr market value of the Property Immediately before the partlal taking, destruction, or loss
In value Is Joes than the amount of the sums secured Immediately before the partlal taking,
destruction, or lose In valll@, Unless Borrower and Lender otherwise agres {n writing, the
Mlecellaneoue Procseds ahail be appllad to the sums seoured by this Seourity Instrumant

olalm for damagss, Borrower falta to respond to Lander within 30 days after the date the
notice Is glyvan, Lender Is authorized to collest and apply the Miscellaneous Prooseads alther
to restoration or repair of the Property or to the sums seourad by thla Security Instrument,
whether or not then due. “Opposing Party’ means the third party that owes Banower
Miscallaneous Proceeds or the party agalnst whom Borrowar has a right of action In regard
to Miscellaneous Proceads.

Borrower shall be In dafault if any action or procesding, whather elvil or ariminal, fs
begun that, In Lender's Judgment, could rasult In forfalture of the Proparty or other materlai
Impalrment of Lender's Interest In the Property or rights under this Security Instrument,
Borrower can cure such a dafault and, tf acosleration has cecurred, relnstate as provided In
Section 19, by causing the action or proceading to ba diemfasad with a ruling that, In
Lender's Judgment, precludes frfeltura of the Proparty or other matarial Impalrmant of
Lender's Intores! jn the Property or rights under this Security Instrument. The proceads of
any award or olalm for damagas that are attributable to the Impairment of Lender's Interest
In the Property ars herpby assigned and shall ba pald to Landar,

All Miscellaneous Proceeds that are not appiled to restoration or repalr of the Property

STAT) Rev 14/00/00 Page 11 of 19 iinet A FORM 3044 fit

APP. 14
ertified Document Number: 114616017 - Page I1 of 23

~

Cast PEUYSS” CAR CHISHE 22: Filled! oO RDIATREE Sp spade OPA ©”

thle Seourtty Instrument by reason of any demand made b
Successors In Intorost of Borrower, Any forbearanga by La
remedy including, without limitation, Lender's acceptance of payments from third persone,
entliles or Successors in Interest of Borrower or In amounts less than tha amount then due,
~--~shall-net-be-a walverof oF-proolude-tha-exeralsa-of-any-tight-or-ramedy—— —~——_-
18, Jolnt and Several Llabillty; Co-slgnera; Successors and Asalgne Bound, Borrower
covenants and agrees that Borrower's obligations and lability shall be Jolnt and several,
However, any Borrower who oc-slgns thla Security Instrument but dogs not executes tha Note
(a “oo-signer"): (a) Is co-slgning this Security Instrument only to mortgage, grant aad conve
the co-signer's Interest Jn tha Property under the terms of this Saourlty Instrument; {b) [3 not
Personally obligated to pay the sums seoured by this Saaurity Instrument; and {c} agrees
that Lender and any other Borower can agree to axtend, modify, forbear or maka any
accommodations with regard to the terms of this Seourity Instrumant or the Nota without the

SUeoeasors and assigns of Lendor,

14. Loan Charges. Lendar may charge Borrower feos for sarvices performed In
connaction with Borrowers default, for the purpose of protecting Lander's Interest tn the
Proparty and rights undor this Security Instrument, Including, but pot limited to, attorneys!
fees, property Inspection and valuation faes. in ragard to any other feas, the absence of

action Borrower might have arlstag out of auch overcharge.
15. Notiesa, All notices givan by Borrower or Lender In connection with thls Seourlty

Instrument must be In wilting. Any notioa to Borrower In oonneotion with this Security
Instrument shall be daamed to have baan glven to Borrower when malied by first olase mall

BTXIZ Rav 11/06/00 Page Ie of ta orien AE FORM 304 1/01

APP, 12
oe +

“CHGS SS UIARE PReTENt 22 Fited er OHBE/ON AYRES pageSot Si °”

raquires otherwise, The notice addrasa shall be the Property Addreas unless Borrower has
destgnated a substitute notice addrass by notivs to Lender, Borrower shall promptly potty
Lander of Borrowar's change of address. If Lender specifies a procedure for reporting
meee Borrowar's ohange of address, then Borrower shall only report a change of addrass through

that specified procedure. Thore may be only ons designated notica addresa under this
Security Inatrument at any one tlme. Any neties to Lender shall be glven by dallvering It or
by matiing It by first class mail to Lender's address stated hereln unless Lender hag
designated ancther addrese by notles to Borowor, Any notice tn connection with this

As used fn thls Soourity Instrument: {a} words of the masculine gander shall meen and
Include carrasponding neuter words or words of the feminine gander; (b} words in the
alngular shali mean and Include the plural and vice varsa; and (ce) tha word “may" gives
Bole disoretlon without any obligation to take any action,

17%. Borrower's Copy, Borrower Shall be glvan one capy of tha Note and of this

14, Transfer of the Property or a Benoticlal Interest In Borrower, Aa used In this
Section 18, "Intareat In the Property" meana any legal or berefiolel Interest in tha Proparty,
Including, but not Hmitad to, those benaficiel Interests transferred In a bend for deed,
contract for deed, Installment salas oontract or escrow agreement, the Intant of which [a tha
transfer of title by Borrower at a future date to a purchaser,

fall or any part of the Property or any Interaat In the Property [a sold or trensfarred (or

STX19 Rev 41080 Page $3 of t9 ritater MA "+ FORR S04 1701

APP. 13

ertified Document Number: 114616017 - Page 12 of 23

~
Certified Document Number: 114616017 - Page 13 of 23

whos 4,

Case

1
condit

“S5-BS3E8° DURUMERE 2 Filled On DABB/ZIO TREE? SPAT BEY &7

9. Borrower's Right to Ratnstate After Acceleration. [{ Borrower meets cartain
ions, Borrower shall have the right to have enforcament of this Security Instrument

discontinued at any time prior to the earliest of (a) five days before sale of the Prope

-—.. -pUrsuant to any power of sale ooatalned In thle Seourity Instrument: (b) such other pariod as
Appiteabla Law might specify for the tarmination of Borrower's right a; or (oj e

of a Judgment onforclng thls Security instrument. Those conditions

pays Lender atl sums which than would be due under thls Seourlty instrument and the Note

as H

NO aoceleration had ocourrad; (b} oures any defavit of any other covenants of

agreements; (c} pays all expansse Incurred In enforcing this Seourlty Instrument, Ineivd|ng,
but nol fimlted to, reasonable attorneys’ faas, Property inspeotlon and valuation fees, and
othar fees Inourred for the Purpose of protecting Lender's Interast In tha Property and rights

accela
accele:

thle Security Instrument: and {d) takes such action aa Lender may ragaonably require

ration had occurrad, However, this right to ralnstate shall not apply In the cage of
ration undar Section 48,

20, Sale of Note; Change of Loan Servicer; Notice of Grievance. Tho Note ora partis!
Intarast In the Note (together wlth this Security Instrument) can be sold one or more times

Loan Servicer unrelated to a sala of the Note. If there Is a ohange of the Loan Servicer,
Borrower will be glyen written notlea of the changa whioh will state the name and address

of the

new Loan Sarvicor, the address ta which payments should be made and any other

Information AESPA requires In connectlon with a notles of transfer or servicing, ff the Note

and thereafter the Loan ts sarvloed by a Loan Servicer ather than the purchaser of

the Note, tha mortgage loan servicing obligations to Borrower will remain with the Loan
Servicer or be transferred to a Successor Loan Servicer and are not asaumed by the Nota
Purchaser unlass otherwisa provided by the Note purchaser,

breached any provision of, or any duty owed by reason of, thls Seourity Instrumant, until
such Borrowar or Lander has notified the other party (with auch notice given In compllanoe
with the requirements of Section 15) of suth alleged breach and afforded the other party

STX14

a reasonable parted after the giving of such notica to take corrective action, i

Rev 12/27/00 Page 14 of to tnuatn VA PORN 3044 = 1/01

APP, 14

[
ertified Document Number: 114616017 - Page 14 of 23

a

“Cask ZOUSES" ByrsumMeNt 22 Filled on DARB/ELIN TREE? page sea 67

The notice of aogeleration and Opportunity to aura givan to Borrower purauant to Saction 22
and the notice of avcelaratlon given to Borrower pursuant to Section 18 shall ba deemed to
satlefy the notloa and Opportunity to take corrective actlon provisions of this Section 20,

toxle petroleum products, toxlc pastloides and herbloldes, volatile solvents, materials
contalning asbestos or formaldehyde, and radloactlys materlals; (6) ‘Enviconmental Law’:

health, safety or environmental! Protection; (0) “Environmental Cleanup” includes any
reaponge action, remedial aotlon, of femoval:aotion, as deflnad in Environmental Law: and
(d) an "Environmental Condition® méans a oonditlon that can caus6, contribute to, or
otharwise trigger an Environment Cleanup, -
Borrower shall not cavae or permit tho presence, use, dleposai, storaga, or relerse of
any Hazardous Bubstances, or threaten to relaasa any Hazardous Substances, on or in tha
Property. Borrowor shail rot do, por allow anyone else to do, anything affecting the
Property (a) that fs In violation of any Environmental Law, (b) which creates an
Environmental Condition, or (¢} which, due to the presence, usé, or release of a Hazardous

formal residential usas and to maintenance of tha Property (Including, out not imited to,
hazardous substangas In consumer products}, '

Borrower shall promptly glva Leader written notice of (a) any Investigation, alalm,
demand, lawsuit or other action by any govammental or regulatory agency or private party
laVolving tha Progerty and any Hazardous Substances or Environmental Law of which
Borrower has actual knowledge, (b) any Environmental Condition, Inctuding but not IImited
to, any sallilng, leaking, discharge, release or threat of release of any Hazardous Substance,
and (a) any oondition caused by the presence, use or release of a Hazardous Substance
Which adverasly affecta tha value of the Property, If Borrower learns, or Is notified by any
povermmental or regulatory authority, or any private purty, thet any removal or other
remediation of any Hazardous Substance atfsot!ng the Property is necessary, Borrowar shall
promptly take ail necassary remedial actlons In accordance with Environmental Lew,
Nothing heratn shall oreata any obligation on Lender for an Environmental Claanup,

- NON-UNIFORM COVENANTS, Borrower and Lender further covenant and agres ag
follows;

22. Acceleration; Remedies. Lender shall giva notice to Borrewer prior to acceleration
following Borrower's breach of any covenant or agreement In this Security Inatrument (but
not prior to acesleration undor Section 18 unless Applicable Law provides otherwise). The

accalaration and the right to bring a court action to agsert the non-exlstenca of a default or
any ciher detense of Horrawer to accdlaration and sate, If tha default le not cured on or

STX16 = Rav 10/ene Pas tefds uate CA, FORM 3044 4/01

APP, 15
“PRE ASeHOIO86 CReument 22 ied On DARE SOARES pagesa Gf A ©”

bafore the dato specified In the notlce, Lender at its option may raquire Immediate payment
in full of all gums sacurad by thio Security Instrument Without further demand and may
Invoke the power of sala and any other remedies permitted by Applicable Law. Lender
an shall he_entttied to, cellect al Sxpannes_newred tn_purauing the_comedien provided to thin ee
Section 22, Including, but not mited to, reasonable attomeys' feea and coats of title
evidence. For the purposes of this Section 22, tha term “Lender” Includes any holder of the
Note who Is entitled to recalve payments under tha Nats, -

It Lender Invokes the Power of sale, Lender er Truates shall giva notice of the tims,
Place and terme of sale by posting ahd fillng the notice at faast 24 daya prior te sale as
provided by Applicable Law. Lender ehall mall a copy of the notice to Borrower fn the
Mannor proscribed by Applicable Law. Sala shat! be made at public yendue, The Sale muat
begin at tho tIma stated in the notice of wale or not later than three hours after that time and
between the hours of 10°axn, and 4 Pm. on the firet Tussday of the month. Borrower
suthorizea Trustes to sell the Property to the highaet bidder for cash In one or more parcels
and In any order Trustea determines. Lender or itz dealgnes may purchase the Property at
Bny sala,

Trustee shall daliver to the purchaser Tustea's dead conveying Indofeaalble tlle to the
Property with covenants of general warranty from Borrower, Borrower covenants and
agrass to dofond generally the Purchaser's title to the Property agelnst all clalma and
damands, The recltala in the Trustee's deed shall be prima facle evidence of the truth of the
statamenta made therein, Truates shall apply the proceeds of the ‘sale In the following
order: {a} to all oxpensas of the sale, Including, but net |imlted to, reasonable Trustea's
and attornays' fea; (b) to ail sums secured by this Security Instrument; and (c) Any excess
to the poraon or parscna legally entitled to ft

It the Property ts sold pursuant to this Section 22, Borrowar or any person holding
passaaston of the Proparty through Borrower shat] Immediately surronder possaasion of the
Property to the purchasor at that oalo. If possession fs not surrendared, Borrower or auch
persen éhall be a tenant at sufferance and may be removed by writ of Possession or other
court proceeding,

23, Refaaae. Upon payment of all sums Secured by this Security Instrument, Lender
shall provide « release of this Securlty instrument .to Borrower or Borrower's dasignated
agent in aocordance with Applicable Law, Borrower shall pay any recordation costs, Lender
may charge Borrower a fee for releasing thls Security Instrument, but only If the fee fs paid
to a third party for services rendered and the charging of the fee fs permitied under
Applleabla Law.

24, Substitute Trustee; Trustea ability. All rights, remedies and dutles of Trustees

. Under thie Security Instrumant may be exercised or performed by one or mora trustees
acting alone or fogather, Cender, at Ita option and with ar without oause, May from time ta
time, by power of attomay or Otherwise, remove or substitute any trustes, add ona or more
trustags, or appoint a succesacr fustee fo any Trustee without the Necessity of any
formality othar than a designation by Lender In Writing. Without any further ast or
conveyande of the Property the substitute, additlonal of successor trustee shal) become

vested with the title, rights, remedies, powers and dutles conferred upon Trustee horely and
by Applicable Law,

STX18 = Aev tone Page 1 of 19 Initial bAL FORM 3044144

APP, 16

Certified Document Number: 114616017 - Page 15 of 23
Certified Document Number: 114616017 - Page 16 of 23

.- efor any-act.or omission unlags such act or.amlagion fo willful a
26, Subregation, Any of tha proceeds of the Note used to take Up outstanding Hans

Trustee shall not be liable if acting upon any nofios, request,

consent, damand,
atatament or cther dooument belleved by Trustee to be correct,

Trustee shall net be ilable

Ve

against all or any part of the Property have been ady

anoed by Lender at Borrower's request
end upon Borrowar's representation that suoh amo

unts are due and ars secured by valfd

are released by the holder thereof upon payment,
28. Parilal Invalidity, In the event any sortion cf the sums Intended to be Sacred by

this Geourlty Instrument cannot ba lawfully saoured hereby, paymenta tn reduction of such

sums shall be applied first to those portions not sacured hereby,
27, Purchase Money; Owolty of Partition; Renawal and Extension of Liens Against

Homactaad Proparty; Acknowledgment of Cash Advanced Agalnat Non-Homestead Proparty,
Check box ae appiicablo:

Cx} Purchase Money,

The funds advanced to Borrower under tha Note ware used to pay all or part of the
purchase prica of the Property, Tha Note alsa tg primarily secured by the vandor's ilan
retalned In the deed of aven date with this Sacurity Inatrumant convoying the Property to
Borrower, which vendor's len has baen assigned to Landar, this Sacurliy Instrument belng
additional security for such Vendor's flan.

CL] Owalty of Partition.

The Note represents funds advanced by Lender at the apaclal Instance and request of
Borrower for the purposa of acquiring the entire fee simple ttle ta tha Property and tha
exlstence of an owelly of partition Imposed agalnst the enifrety of the Proparty by a oourt
order or by @ written agrsement of the parties to the partition to seoure tha Paymant of the
Note |s expressly acknowledged, confassed and granted,

Renewal and Extension of Llanes Against Homestead Praperty, .

The Note Is fn ranewal and axtension, but not Ip extingulshment, of the Indebtedness
dascribad on tha attached Renewal’ and Extensfon Exhibit which Is Inoorporated by
reference, Lander {s expressly subrogated to all rights, lens and .ramediag seouring the
orginal haldar of a nota evidencing Berrower's Indebtedness and the ortglnal ilene securing

the Indebtedness ara renewed and extended to the data of malurity of the Note In renewal!

SIXT «6 Rav 1Viaeo Page 17 of to mor A PORM 3044 toy

APP. 17

| Case" 25-6588" Sp Rogutmenta2 FRilediorT CBO HPIRRBS PBGOR PH ILE”
ertified Document Number: 114616017 - Page 17 of 23

“CEEAHG IIE Reoument 12 Filed on OREEIATIN GREE? pages oPaAl 07

28. Loan Not a Home Equity Loan. The Laan evidenced by the Nota Is not an extension of

credit es defined by Section 5O{aXB) or Section BOaX?7}, Article XVI, of the Texas
__..onetitution. {ft the Property Ip used me Borrower's rasidance, than Borrowor agreas thal

Borrower will recelve no cash from tha Loan evidenced hy the Noto and that any advances “

nol necessary to purchase the Property, extinguish an owoelly lien, completa construction, or
renew and extend a prior Ilan against the Property, will be used to roduca tho balance
evidenced by the Note or such Loan will ba medifisd to evidance the carrect Loan balance,

at Lender's option, Borrower agrees to execute any documentation necocaary to comply
with this Sactlon 29, -

BY SIGNING BELOW, Borrewar accepts and agrees to the terms and covenants

oontalned in thia Security Instrument and In any Rider executed by Borrower end revorded
With it,

Witnesses;

818  Aey iBe7/09 Pags 18 of 19 irae OM FORM 3044 4/04

APP. 18
VASE Elec y 99886 cBeasumenit 22 Filed an DARBIZI IN FREE page Ge oF gai 67

STATE OF TEXAS
-Gounty of HARRIS

Before me 4 (hugh , on this day parsonally appeared

a
3

ertified Document Number: 114616017 - Page [8 of 2

”
“

CHARLES RAY MOSELY, AN UNMARHIED PERSON

known fo me (or proved to me on the cath of
‘

or through , ‘ ) to be the person whose name Je subsorlbed to
the foregoing tnstriment and acknowladgad to me that he/sha/they executed the sama for
the purposes and consideration therein oxpressed,

Glvan under my hand and sgal of offfoa thf ZaRE

f day of OCTOBER, 2008

Nodiry Pablo, Sista of Fewta
pel My Coracesion Expos 07-31-2008
Ciearay

SS

My conto 7/2 | 9

BTXi@ Rev 1afraoo . Page 13 of 15 ita HAN FORM 3044101

APP. 19
ertified Document Number: 114616017 - Page 19 of 23

~

, “RSE Accugse8s Reacument 12 ‘riled on DHRErAIO HSE? peGeeg Spat 67

’ EXHIBIT "4"

The West 33 feet of Lot “Twenty-seven (27) and tha adjoining Bast 22 feet oF
Lot Twenty-eight (28), dn Block Twenty-Four (24) of RERDWOODS, an addition in
Harria County, Texaag according to tha map or plat thereof recorded iy
Volume 42, Page 71 of the Map Records cf Harris County, Texag.

APP. 20
“PIE PeYHNHE Deaaument 22 Ailted on 4/20 ROARS piesa et St 67

S 20080527729

a # Pages 21,

10/22/2008 08:14:52 aw

<r e-Filed & ea~-Reaorded in the

*) official Publica Reoords of

HARRIS COUNTY

2 BEVERLY KAUFMAN

So COUNTY CLERK

tv Fees 92.00

Lu
Td ae ae ee RAMUS Ved and onded alactronisaliy
i attire FF oiagoan Pataca!

ehby peoceeeths

ote ponte sala, zen tal | ax
Bree rutieat oa “Ea She anda: apne
Be oF
File Silvas a Rohs" Syste an 2 apne, ttne. 8 Sane stomped

Pabiie He of Boal Propasty of of Barrie Coane Razas

@ a5

APP. 24

ertified Document Number: 114616017 - Page 20 of 23
Certified Document Number: 114616017 - Page 21 of 23

CAECZESARN Documanta2 Fitedion 022020 PPS? Paheas GSP 67

. |
@.
P BEE 180
FIXED RATE NOTE

OCTOBER 8, 2008 HOUSTON | TEXAS
ie tip Sli

8005 NITA, HOUSTON, TX 77057

{Property Adsras3}
 1--BGRROWER'S-PROMISE-TO-PAY-——~ —-- Tr reo tt cate =
In return for a loan that | have recaivad, | promisatopayUS § 34,400 00 (this amount rs
galled "Principal", plus interest, fo the ordar of the Lender The Lendar Is

| Undarstand that the Lender may transfer this Note The Lender or anyone who lakes this Noto

I will make all payments under this Note in the form of cash, check or fore order
by transfer and who 19 entitled to recaiye payments under this Note 19 dalled the "Note Holder”

2 INTEREST
Interest will be charged on unpaid principal unttl the full amount of Pr cipal haa been patd |
“The [nterest rate required by this Seotion 2 ts the rate | will pay both before and after any default

desonbed in Section 6(B) of this Note

3. PAYMENTS
{A) Time and Place of Payments
twill pay principal and interest by making a payment every month!

Twill make my monthly payment on the first day of each month be Inning on DECEMBER 1, 2008
1 will make these payments every month until] have paid all of the principal and interest and

any other charges described below that | may owe under this Nete Each monthly payment will ba
apphed ag of its echeduled due date and will be applied to Interest before Principal

if, on NOVEMBER 4, 2038 , | sti] owe amounts under this Nota, | will pay those amounts in full!
on thal date, which te called the *Maturity Date © ,

! will make my monthly payments at WELLS FARGO BANK, NA
PO BOX 11701, NEWARK, Nu 07104-4701
or ata difforent place if required by the Nota Hoider

(B) Amount of Monthly Paymonts .
My monthly payment will ba in the amount of U8 $ 225 99

will pay inferest ale yearly ralaof 6875 % |
|
i

4 BORROWER'S RIGHT TO PREPAY

[have the right to maka payments of Principal at any time before theylare due A payment of
Principal onty ts known as a 'Prapayment " When | make a Prepaymagt, } will tall the Note Holder In

wratng that | am doing so | may not deaigrate a paymant as a Prapayment if] have not made all
the monthly payments due undar the Nota

| may make a full Propayment or partial Prepayments without paying 4 Prepayment charge The
Note Holder will uae all of my Prepayments to raduce the amouni of Prinospal that | owe under this
Note However, the Note Holder may apply my Prapayment to the accrued and unpaid interest on
the Propaymen! amount, before applying my Propayment to reduce the Principal amount of the
Note If] make a partial Prapayment, there will be no changes In the due date or in tha amount of
my monthly payment unless the Note Holder agraga in writing 19 those ohangos ~

MULTISTATE FINED 1X ROTH Single Famty PN MAVFHLMG VAIPOAM INST ALUM EMT FORM 300 (9)
tata BOIL MEY carotea

APP. 22
Certified Document Number: 114616017 - Page 22 of 23

+

wee ee ee

©

5. LOAN CHARGES

Ifa Jaw, which applies to this loan and w
the Interest or other foan charges collect

(Ca8E-25-B5803"SD Bogumeenta2 Filed or ORS pp198/25 PERE 4. ot 67

|
Bebe:

hich sels maximum loan charges, 18 finally interpreted so that
ad of to be sollected in ounne fon with this loan axesed the

Permitted imils, then (a) any such loan aharge shall bo raduced by thé amount necessary to reduce

any sums already coflected from ma which axooadad

fo

the full amount of any month payment by the end of 15
a. | will pay e late charge to the Note Holder The
fo of my overdue payment of principal and imterast | will

pay this late charge promplly but only once on each lale paymen

(8) Default

If1 do net pay the full amount of oaoh monthly payment on the date It ts dus, | will be in defaun

(C) Notice of Default

if am in default, tha Note Holder may Send me a written notice telling me that fl do not pay the
overdue amount by a certain date, the Nole Holder may require " to pay immediately tho full

amount of Principal which hes not baen pald and all the interest t

at | owe on that amount That

date must be at feast 90 days after the date on Which the notes i: maiad to me or delivered by

other means
(D) No Walver By Note Holder
Evan tf, ata time when | am tn defau

full as described above, the Note Ho
tima

I
I, (he Note Holder doas not requirs me to pay Immediately tn
Ider wil] atill have the nght toldo so gf | am tn default at a later

-{£) Payment of Note Holder's Coals and Expenses

ifthe Note Holder has required me to pay Immediately in full as escribed above, the Note
Holder will have tha right to ba paid back by me for all of its cost and expenses in enforon

this Note fo the extent not prohibited by applicable law Those expenses

reasonabla attorney's fees

7 GIVING OF NOTICES

noluds, for exam ole,

Unless applioabla law requirss a diffarant method, any notice that 1 be givan to me under this
Noto will be given by delvering It or by mailing tt by first class mail tolme at the Propany
Address above or al a different address if] give the Note Holder a eee of my diffarent address

Any notiee that must bo given to the Note
malting it by firal clasa mal! to the Note H
Oifferent addrose fl am given a fotios of

&. OBLIGATIONS OF PERSONS UND

Holder under this Note will ba aiven by dativaring & or by
older at the addrosa stated 1 Section 3{A) above or ata
that diffarent addrass

ER THIS NOTE

If more than one person signa this Nota, each parson 1g fully and personally obligated to keep all of

the promises mado in this Note, Including

the promisa to pay the full zmount owed Any peracn who t¢

4 guarantor, surety or endorser of this Nota 15 also obligated to do thesa things Any person wha

fomises made in thia Ncla [The Note Holder may anfores

Rs rights under this Note against saoh person Individually or apainst l of us together This
tmeans that any one of ve may ba required lo pay all of the Amounts owed under this Note

§ WAIVERS

! and any other Person whe has obligations under this Nota warve the rights of Presentment

and Notice of Dishonor *Frasentment® m

sane the rght to require the Note Holder to demend

payment of amounts due "Notice of Dishonor’ means the npnt to require the Note Koldor to

gi¥@ notice to other parsons that amounts

-MULTOTATE FOED 1x NOTE Fingla Feenty FAAP ME UNTFORM INSTAUIIYT FORM Tid 101
Te

due have not been pard

ECOL REV betwoz

I
APP. 23
ertified Document Number: 114616017 - Page 23 of 23

~'

, “RSaSPESWORRRA Becumantii2 Filation Casto rOPR2raRege Hae 67
é @
10, UNIFORM SECURED NOTE

This Note ts a uniform instrument with limited variations in soma jurtsdictions In addition te the
Proteations given to tha Note Halder ender this Note, a Mortgage, Daed|of Trust of Securty Dead (the
“Seourity Insirument’}, datad the sama date as this Note, protects tha Note Holder from possible losses
which might result if | do nod keep tho promeges which | make in thie Nola That Security Instrument
desenbes how and under whal conditions | may be required to make Inimadiale Payment in full of all
amounts that | owe under this Note Some of thosa conditions are described as follows

1
if all or any part of the Property or any Interest in tha Property Isjsotd or tranaferrad (or
i1Bo af is fote atural poyeon and & banefleal ntoreat i Bee is sold or (
yane erred) without La pst pior W ttan aoneant, Lander may require Immadiate payment In

laf all sums seourag y thie Security las ni 7 owaver, this Option shall not
exercised by Lender if auch exercise (9 prohibita by Applicable Law

If Lander axarcisas this option, Lender shall ve Borrower notios of acoaleration The notice
ay rovide @ ered O Pot Bes tan dla 6 from To date the n icg ts given thr cuore
With Seotion 16 Within which orrawor must pay all a¥me secured by this ectimy Instrument

Bay raetes pore 8 tis SOY ORAS PIE. od ta Inyo
rrower

THIS WRITTEN LOAN AGREEMENT REPRESENTS THE FINAL AGREEMENT BETWEEN PARTIES

SOBA CASTING FP, conrentonacous, on
THERE ARE NO UNWRITTEN ORAL Rentsien BETWEEN THE PARTIES

WITNESS THE HAND(3} AND SEAL(8} OF THE UNDERSIGNED

Bleacte

{Sign Onginal Only)

Ding Fa PUMP HLS UNIFORM INSTRUMENT FOAM ita Wat
MULTIBTATE FoaD WOTE Rings Family roe meat Ay

APP, 24

NOTICE OF TAX TIEN
Case 25-03365 Document 2 Filed in TXSB on 06/06/25 Page 63 of 67

cam
anar me
at Ta,

7 oF HARA. "
A ‘ ° “te, ¢h ",
iO; 4 c 4
iO: : = :
tee imei
‘, 2 o ~y :
. a, at 4 Ay <
SY Weagae™ ir -
“OG ee S

I, Marilyn Burgess, District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office
this Februarv 28. 2025

Certified Document Number: 114616017

MN Ly Bu fo
Marilyn Burgess, DISTRICT CLERK
HARRIS COUNTY, TEXAS

In accordance with Texas Government Code 51.301 and 406.013 electronically transmitted
authenticated

documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@bhcdistrictclerk.com
Case 25-JSaes? pHecHRaNt 12 Fett onTOaeo rom RETREBS p goes gf 67

Any appileatlon of payments, Insurance proceeds, or Miscellanoous Proceads to prinalpal
due under the Note shall not extand or postpone the due date, or change the amount, of the
Periodle Paymenta,
mee az 3 Funds for. Eacrow. tems, Borrower. shall pay.to.Lander.on tha day Partod IcPaymants —_
are due under the Note, tntil the Note ts pald jn full, a eum {the "Funds"} to provide for

“Escrow items." At Origination or at any time during the tarm of the Loan, Lender may
require that Community Assoolatton Dues, Foos, and Assessments, If any, ba escrowed by
Borrower, and suah dues, feoa and assessments shail bo an Esorow: Item, Borrower shail
Promptly fumish to Lender all notices of amounta to be paid under this Section, Borrower
shall pay Lander the Funda for Escrow ltams unless Lender waives Borrower's obligation to
pay the Funds for any ofall Escrow Items, Lander may waive Borrower's obligation ta pay

all Escrow ltema at any time by a notice given In accordance with Section 18 and, toon such
revocation, Borrower shall Pay to Lender al! Funds, and Ia such amounts, that are then

Lender may, at any time, collact and hold Funds in an amount (a) sufficient to parmit
Lender to apply tha Funde at the thne specified under RESPA, and (b} not fo exceed the
maximum amount a lender can require under RESPA, Lander shail estimate the amount of
Funds due on the basis of current data and reasonable estimates of expenditures of fiture
Eacrow items or otherwise in aecordanos with Applicable Law.

The Funds shall be held fn an Institution whose deposits are Insured by a federal
agency, Instrumentality, or entity {Including Lender, Lander is an institution whosa
deposits ara 50 Insured) or In any Federal Home Loan Bank. Lender shall apply the Funds
to pay the Esorow tema no later than the time speolfied under RESPA, Lander shall not
charge Borrower for holding and applying the Funds, annually analyzing the escrow
account, or verifying the Esorow Itema, unlesa Lender pays Borrower Interest on the Funds
and Applicabla Law permits Lender to make euch a charge, Unless an agreament la made
In writing or Appiloabla Law requires Intarest to be pald on the Funds, Lender shall not ba

{

anOE Rev ita Pape 3 of 10 nua AAG ( . FORM 30440 (1/01

APP. 5

Certified Document Number: 114616017 - Page 4 of 23
ee

Certified Document Number: 114616017 - Page 3 of 23

‘GaSe 45 ES SesY oD daguraemtal2 FRilécror 67B0Ra WP ARSE P2304 6p ft 67

Lender's addrasa te

P. ©. BOX 8137, DES MOINES, [A 80306-5197
Lander ts the benaficlary under this Seourly Instrument.

(D) "Trustee" Is ROBEHT K, FOWLER
“Trustee's address ta ~ ee Be
10383 RICHMOND #880, HOUSTON, TX 77042

{E) “Note ° meana the promissory note signed by Borrower and dated OCTOBER 3, 2008
The Note states that Borrower owee Lender THIRTY-FOUR THOUSANB FOUR HUNDRED

Dollars,
(0.8, $94 WR asssunsne) plus Intarast, Borrower has promised to pay thls debt 'n regular

Perlodlo Payments and to pay the dabt In full not later than NOVEMBER 1, 2028

{F) Property" maans tha proparty that le daserlhad bolow under the heading “Transtar of
Rights In the Property,"

(Gi) "Loan? magne the dabi auldensod by the Kate, plus Interest, any prepayment onarges
And (ute charges due under The Note, and ail sume dua Undar thle Soourity tnetrument, plite

Interest,

(H) “Ridgre" maans all Aiders to this Security Instrument that are executad by Borrower,
The following Alders are to be exaouted by Borrower [cheok box as appileablaf

Adjustable Hate Alder {_] Condom!nlum Rider Sacond Homo Rider
Balloon Rider CJ Planned Unit Development Alder [_] 1-4 Famlly Rider
[7] VA Rider [| Biweekly Payment Rider LJ otherts) [specify]

(1) "Applicabla Law" moans all controlling applicable federal, stata and local statutes,
ragulations, ordinances and administrative rules and orders {that have the effect of law} as
Well as all applloable final, non-appealable Judtclal opinions,

{J} “Community Aseoelation Duse, Foes, and Assessments" means alt duas, fees,
assessments and other charges that are Imposed on Borrower or the Property by a
condominium aascclation, homeowners assoclation or similar organization.

(K) "Electronic Funde Transfer” means any transfer of funds, other than a transaction
orlglnated by check, drat, or similar paper Instrument, which Is faltlated through an
sleotranio terminal, telaphonia Instrument, computer, Of magnatlo tape so as to order, -
Instruct, or authorize a finanofal Institution to debit or cradit an account, Such term Includas,
but Js not Imited to, polnt-of-eals transfers, automated teller machine trangactlona, transfers
Initiated by telephone, wire transfers, and automated claayinghcuse transfers,

(L) "Escrow Items" means those Items that are desoribed In Seotlon 3,

(M) “Miscellaneous Proeseds” means any compensation, settlament, award of damages, cr
Proogeds pald by any third party (other than inevrance procaads pald under the coverages
desoribed in Section 6) for: {I} damage ta, or deatructlon of, the Property: (il) condemnation
or other taking of all or any part of the Property; {II} conveyance In flew of condemnation; or
y} misreprasentations of, or omissions as to, the value and/or condition of the Property.

N) “Mortgage Insurance” means Insurance protecting Lender agalnat the hanpayment of, or
default on, the Loan, :

(O} “Perlodic Paymont™ means the regulary scheduled amount due for (0 principal and
interest under ths Note, plus (ii) any Amounts under Seotion 3 of this Security Instrument,
{P) "RESPA” means the Real Estate Sottlement Procedures Act (12 U.S.C. Section 2601 at
§0q,) and He Implementing regulation, Ragulation X (24 ©.F.R. Part 4609), as they might be

ST02 Rav 12/16/00 Page 2 of {0 Intifata: FORM 3044 1/01

APP, 2

TOGETHER WITH all the Improvements now or hereafter erected on the property, and

Bll naraAmadte mnnidananene -= + Bea.
Lertitied Document Number: 114616017 - Page 5 of 23

1. Casé'Zp-BS888oDBeaureent

ae

2.2 Fedor! C428 MPTHEB° phAOg PS ot 67
| i

‘Upon payment in full of all sumé secured by this Security Inatrument, Lender shall

Promptly refund to Borrower any Funds
4. Charges; Lions, Borrowar shall

heid by Lender,

impositions attributable to the Property which can attain priorty over this Seaurity

Borrower shall promptly discharge any lien whieh hag priority over this Security
Inatrument unless Borrowsr, (a) agreas [n writing to tha payment of tha obligaton secured

by the Jlen in a mannar accaptabla to
sush agreement; (b} contests the lien
the flen In, legal proceedings which In
of the flen while those proceedings
concluded: or (0) saouraa from the ho
subordinating the [len to this Security

Proparty ts aubject ta a Ilan which can attaln priority over thia Security Instrument, Lander
Mey glve Borrower a nolles Identifying the lien, Within 10 daya ofthe date on which that

notice Is glvan, Borrower shail satisty
above In this Section 4,

the llen of take one or Tnore of the actions set forth

Lender may requira Borrower to pay a one-time charge fora peal estate tax verifloatlan
and/or reporting service used by Lender In connection with this Loan,

&, Proporty
erected on the Property insured aga

"extended coverage," and any other hazards Including, but not SImited to, earthquakes and
floods, for which tender requires Insuranog. This Insurance shall be malntalned In the

right to disapprove Borrower'a chalee, which right shall act be exercised unreasonably,

in conneotlen with this Loan, alther: (@} @ one-time

oharge for flood zone determination, certification and traaking services: or (b} a onetime

charge for flood zone determination an
time remappings or similar ohanges oo

d cortlfication services and subsequent chargas each
our Which reasonably might affect such determination

STs Pay iene Page 5 of 18 Inithad x, bt t { FORM 804g 01/0;

_ APP. 6
were wrucuuienit INUMpEer: 114016017 - Page 6 of 23

. Ease 25-BS9b8%®p Qaguaenta2 F Redo mabe HAYES Page LA Gr 3 °

or certification. Borrower shail also be responsible for
the Faderal Emorpenoy Management Agenay In connection with the re

shall cover Lender, but might or might not P
Property, or the contents of the Property, agatnst any risk, haz

8Uch Insurance provesds unt! Lander has had an opportuni
onéure the work has been completed to Landar's satisfaction, provided the! such Inspection
shall be undartakon Promptly, Lender may disburse Proceeds for the repairs and
reatoration In a single payment or in a series of progress payments as the work fs
completed. Unless aq agreemont [a made In writing er Appiteable Law requlres Interest to
be pald on such Insurance Proceeds, Lander shall not be required to pay Borrower any
Interest or earnings on auoh Proceede. Feas for public adjustars, or other third parties,
‘Tetalned by Borrower shall not be pald out of the Insurance Proceads and shall be the eole
obligation of Borrowar. If the restoration or rapalr ts not sconomfoglly feasible or L

endar's
Security would bo lessened, the Inguranoe proceeds shail be applied ta the sums seoured
by thls Security Instrument, whether or not then due, with the excess, If any, pald to

Borrower, Such Insurance proceeds shall be appliad In the order provided for in Section 2,

If Borrower abandons the Property, Lendor may file, negotiate and ssttle any avaliable
Insurance claim and related matters. [f Borrower doos not reapond withla 30 days to a
notice from Lander that the Insurance oarrlor hag Offered to setfle a elajm, then Lendar may
nagatlate and settle tha Slalm. Tha 90-day perlod will begin when the notice I3 given, In

STO? Ray tazena Pape? of 1 intiane LUA FORM 5044 1404

APP. 7

